EXHIBIT 2
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                                                               COM. CODE ANN. §§ 17.46, 17.50, as well as common law
                     2019 WL 3503240                           claims for breach of contract, wrongful detention, conversion,
 United States District Court, N.D. Texas, Dallas Division.    negligence, tortious interference, civil conspiracy, unfair
                                                               competition, misrepresentation, and concealment.
  EUROTEC VERTICAL FLIGHT SOLUTIONS, LLC.
                         v.                                    Pending before the Court is SafranHE USA's and the
     SAFRAN HELICOPTER ENGINES S.A.A.,                         International Defendants' Motions to Dismiss [ECF Nos. 103,
                                                               104]. For the foregoing reasons, the Court grants in part and
      Safran Helicopter Engines USA, Inc., and
                                                               denies in part the Motions.
       Safran Helicopter Engines Canada, Inc.

                 CASE NO. 3:15-CV-3454-S
                            |                                                      I. BACKGROUND
                    Signed 08/01/2019
                                                               Pursuant to Special Order 3-318, this case was transferred
Attorneys and Law Firms                                        from the docket of Judge Jane J, Boyle to the docket of this
                                                               Court on March 8, 2018.
Don Swaim, Alex Joseph Whitman, Cunningham Swaim,
PLLC, Dallas, TX, Christopher B. Sevedge, Courtney JoAnn
                                                               Plaintiff filed its original complaint on October 23, 2015, and
Harrison, Daniel Bukovac, Stinson LLP, Paul V. Herbers, Pro
                                                               amended the complaint to join new defendants on March 28,
Hac Vice, Cooling & Herbers, PC, Kansas City, MO, for
                                                               2016. On June 1, 2016, Defendants filed a Motion to Compel
EuroTec Vertical Flight Solutions LLC.
                                                               Arbitration and a Motion to Dismiss, which the Court granted,
Bruce D. Oakley, Hogan Lovells US LLP, Heaven                  staying the case pending arbitration. Following arbitration,
ChanelChin Chee, Foley Gardere, Houston, TX, Mark J.           the Court reopened the case on September 18, 2017, Plaintiff
Dyer, Martin Disiere Jefferson & Wisdom, Dallas, TX,           filed its Second Amended Complaint on October 9, 2017,
William Leitzsey Monts, III, Pro Hac Vice, Hogan Lovells       and Defendants filed a new set of motions to dismiss. The
US LLP, Washington, DC, for Safran Helicopter Engines          Court held a hearing on the second set of motions to dismiss
SAS, Safran Helicopter Engines USA Inc., Safran Helicopter     on November 18, 2018. The Court dismissed the Second
Engines Canada Inc.                                            Amended Complaint in its entirety but granted Plaintiff's
                                                               motion for leave to amend. Although the Court expressed
                                                               hope that affording Plaintiff an opportunity to replead would
                                                               result in “some of the weaker of [the] 14 claims ... [getting]
      MEMORANDUM OPINION AND ORDER
                                                               taken out,” ECF No. 92, at 65:21-23, Plaintiff's fourth attempt
KAREN GREN SCHOLER, UNITED STATES DISTRICT                     includes thirty causes of actions over the course of 130 pages,
JUDGE                                                          and includes many of the same weaker claims as its prior
                                                               attempt. See Third Am. Compl. Defendants filed a third set of
 *1 Plaintiff EuroTec Vertical Flight Solutions, LLC           motions to dismiss on January 25, 2019, which is the subject
(“Plaintiff”) brings this action against Safran Helicopter     of this Memorandum Opinion and Order.
Engines USA, Inc. (“SafranHE USA”), and against Safran
Helicopter Engines S.A.S. (“SafranHE France”) and Safran
Helicopter Engines Canada, Inc. (“SafranHE Canada”)
                                                                                           A. Parties
(together, “International Defendants,” and collectively with
SafranHE USA, “Defendants”). In the Third Amended              Plaintiff is a Kansas limited liability company that owns
Complaint (the “Complaint”)—which is the fourth complaint      helicopters and helicopter engines, is a certified repair
in this case—Plaintiff alleges violations of the Sherman       station, and is in the business of buying, selling, and
Act, 15 U.S.C. §§ 1, 2, California Cartwright Act, CAL.        leasing helicopters, engines, and engine parts. See Third
BUS. & PROF. CODE § 16720 et seq., Kansas Restraint            Am, Compl. ¶¶ 1-4. Plaintiff also provides consumers with
of Trade Act, KAN. STAT. ANN. § 50-101 et seq., § 35 of        various services, including engine maintenance, repair, and
the Lanham Act, 15 U.S.C. § 1117, Texas Deceptive Trade        overhaul services (“MRO Services”). Id. ¶ 5. Defendants are
Practices Consumer Protection Act (“DTPA”), TEX. BUS. &        manufacturers, marketers, sellers, and lessors of helicopter



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engines and of modules, components, parts, and accessories                 —and a product market—a market of reasonably
for those engines. Id. ¶¶ 9, 12-15, 18. Defendants also market             interchangeable goods. See infra § III.C.1.a.iii.a.
and provide MRO Services for their engines, Id.

 *2 With the exception of SafranHE USA, which is a                                    (1) Geographic Market
Delaware corporation with its principal place of business in
                                                                   Plaintiff asserts that the relevant geographic market is the
Dallas County, Texas, the Defendants are foreign companies.
                                                                   United States. Id. ¶ 244. Nonetheless, Plaintiff contends that
Id. ¶ 11. SafranHE France, formerly Turbomeca, S.A. and
                                                                   (1) Defendants deal in the United States and Canada; (2)
Turbomeca S.A.S., is a French company and domiciliary.
                                                                   Defendants' customers are located in the United States and
Id. ¶ 7. SafranHE Canada is a Canadian corporation and
                                                                   Canada, and turn to sellers in both countries for engines and
domiciliary. Id. ¶ 17. Plaintiff contends, however, that there
                                                                   parts; and (3) sellers of Safran engines and parts, as well as
is a significant unity of interest in ownership and control
                                                                   providers of MRO Services, view as competition sellers and
between the three Defendants, such that they are alter egos
                                                                   service providers in both the United States and Canada. Id.
of one another, Id. ¶ 20. Plaintiff alleges that either SafranHE
                                                                   ¶¶ 245-49.
France is able to exert a great degree of control over the other
Defendants, that Defendants are agents of one another, or that
they acted in concert, pursuant to agreements, or as a joint
venture, such that they should be considered a single business                   (2) Market for Engines and Parts
enterprise. Id. ¶¶ 21-24.
                                                                   The first relevant product market is allegedly the market
                                                                   for Defendants' engines and parts. Id. ¶ 252. Plaintiff states
                                                                   that SafranHE France is the largest supplier of helicopter
                    B. Market Allegations                          engines to Airbus, manufacturing all of the engines for the ten
                                                                   Airbus models sold in the United States. Id. ¶ 79. According
Civilian and military helicopters are designed and
                                                                   to the Complaint, there are approximately 1,632 helicopters
manufactured by Airbus Helicopters (“Airbus”), Bell
                                                                   in existence with Defendants' engines. Id. ¶ 74. Airbus's
Helicopter, Leonardo Helicopters, Sikorsky Aircraft
                                                                   other supplier, Pratt & Whitney Canada, is the exclusive
Corporation and other companies. Id. ¶ 70. According to
                                                                   supplier for only one Airbus model. Id. Plaintiff alleges that a
Plaintiff, approximately 45% of all civil and parapublic
                                                                   consumer would not find it cost-effective either to replace an
helicopters worldwide are manufactured by Airbus. Id.
                                                                   entire engine or to seek FAA re certification of a helicopter for
¶ 73. Airbus does not manufacture the engines used
                                                                   use with another engine to avoid paying Defendants' higher
in its helicopters, instead relying on companies in the
                                                                   prices. Id. ¶¶ 258-60.
business of designing and manufacturing engines. Id. ¶ 75.
Defendants are the largest manufacturers dedicated solely
                                                                   Moreover, engines and parts manufactured by Defendants
to the manufacturing of helicopter engines, and compete
                                                                   are allegedly neither interchangeable nor compatible with
with “General Electric, Rolls-Royce, and Pratt & Whitney
                                                                   engines and parts manufactured by other manufacturers. Id.
Canada.” Id.
                                                                   ¶¶ 253-55. Thus, a part manufactured by General Electric,

Plaintiff alleges that there is one geographic market and two      for example, cannot be used in Defendants' engines. 2 Id.
                                                                   ¶ 257. According to Plaintiffs, the demand for Defendants'
relevant product markets. 1 Id. ¶ 244. The geographic is
                                                                   engines and parts is thus independent of the demand for other
allegedly the United States, while the product markets are: (1)
                                                                   manufacturers' engines and parts. Id. ¶ 256.
market for Defendants' engines and parts; and (2) market for
MRO Services for Defendants' engines.
                                                                   2       Plaintiff's allegations on this point are inconsistent.
1                                                                          Plaintiff later alleges that Defendants sought
       These allegations are relevant to Plaintiff's antitrust
                                                                           to “prevent competition from manufacturers of
       claims. As explained in more detail below, most
                                                                           new PMA Parts (substitute parts otherwise
       of Plaintiff's claims require it to plead a relevant
                                                                           manufactured by companies not affiliated with
       market, which is composed of a geographic market
                                                                           defendants, under an FAA program known as
       —the geographic area where Defendants compete
                                                                           Part Manufacturing Authorization).” Id. ¶ 689



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       (emphasis added). Thus, there appears to be some                   product, then the products are likely competing in
       substitutability of parts.                                         different markets.
 *3 Plaintiff has not alleged, however, the total number of       Defendants provide MRO Services and have also authorized
Airbus helicopters or other facts from which the Court could      other companies to perform MRO Services subject to
deduce Defendants' market share with Airbus. Similarly,           limitations—for example, one company is authorized to
Plaintiff alleged that there are more than 2,300 helicopters      perform only “Level 4” engine repair and overhaul on
with Defendants' engines, id. ¶ 81, but has not alleged           a limited number of models, Id. ¶¶ 93-100, Defendants
Defendants' market share of all engines or parts in the United    allegedly choose whom to authorize to perform repair
States or worldwide, aside from the conclusory statement that     services, restrain access to technical information, and
Defendants have “a market share of over 50 percent.” Id. ¶        withhold the supply of parts necessary to perform certain
668.                                                              repairs. Id. ¶ 264. Plaintiff also states, with no factual support,
                                                                  that Defendants have a market share of at least 50% in
Plaintiff further claims that while some manufacturers use        the MRO Services for their engines and parts, mirroring its
distributors to sell engine parts, some sell refurbished or       conclusory allegations regarding Defendants' share of the
used parts, and others sell new replacement parts, id. ¶¶         engines and parts market. Compare id. ¶ 674, with id. ¶ 668.
83-86, Defendants are the sole distributors of their own parts.   Plaintiff thus contends that Defendants have monopoly power
Id. ¶¶ 670-71. Plaintiff thus contends that Defendants have       in the MRO Services for their engines and parts. Id. ¶¶ 674-83.
monopoly power in the market for their own parts. Id. ¶¶
668-73.
                                                                                    C. The Dispute over Parts

               (3) Market for MRO Services                        For more than a decade, Plaintiff would request MRO
                                                                  Services or engine parts from SafranHE USA or SafranHE
Plaintiff alleges that there is a market for MRO Services. Id.    Canada, and these Defendants would honor Plaintiff's
¶ 93. Plaintiff asserts that “[s]ervices provided to helicopter   requests. Id. ¶¶ 101-03. Moreover, Plaintiff allegedly had a
manufacturers are not within [this] relevant [product]            business arrangement in which SafranHE USA provided it
market.” Id. ¶ 262. Some manufacturers provide MRO                with access to technical information, allowing Plaintiff to
Services themselves, while others authorize independent           perform MRO Services on Defendants' engines and parts. Id.
service providers to perform MRO Services, Id. ¶¶ 93-94.          ¶ 104.
Purportedly, there is no cross-elasticity 3 between the MRO
Services for Defendants' engines and MRO Services for other       According to the Complaint, Plaintiff would routinely send
manufacturers' engines. Id. ¶ 263.                                parts to SafranHE USA or SafranHE Canada, requesting a
                                                                  quote of an estimated cost for the inspection and service. Id.
3                                                                 ¶ 109. SafranHE USA and SafranHE Canada would review
       “Cross-elasticity” refers to the responsiveness of
                                                                  the documentation, disassemble the parts, and develop a quote
       the demand for one product to a change in
                                                                  for Plaintiff's review, Id. ¶¶ 110-11. The parties would then
       price of another product. This concept is used
                                                                  negotiate the nature of the service and any remaining or
       to define a product market in antitrust claims.
                                                                  unused parts would be promptly returned to Plaintiff certified
       See United States v. E.I. du Pont de Nemours
                                                                  as airworthy or marked “as is.” 4 Id. ¶¶ 112-18. Between 2001
       & Co., 351 U.S. 377, 404 (1956). For example,
                                                                  and 2010, SafranHE USA and SafranHE Canada allowed
       if “a slight decrease in the price of cellophane
                                                                  their customers to request “scrap parts” to be returned in their
       causes a considerable number of customers of other
                                                                  “as is” condition without SafranHE USA or SafranHE Canada
       flexible wrappings to switch to cellophane, it would
                                                                  certifying the parts as airworthy, repairable, or unserviceable.
       be an indication that a high cross-elasticity of
                                                                  Id. ¶¶ 119-20. SafranHE USA and SafranHE Canada would
       demand exists between [flexible wrappings and
                                                                  also offer to compensate Plaintiff if its part was lost in their
       cellophane]; that the products compete in the same
                                                                  course of dealing. Id. ¶¶ 122-23.
       market.” Id. at 400. If the products have low cross-
       elasticity of demand—i.e., a change in the price
       of one product does not affect demand for another



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4                                                                171-76. Plaintiff claims that by this time, SafranHE Canada
       The Complaint does not explain what “as is”
       certification entails.                                    had already defaced some of Plaintiff's parts. Id. ¶ 170.

 *4 SafranHE USA and SafranHE Canada did not, however,           After Plaintiff filed the present action, Defendants announced
return to Plaintiff all of the parts it sent them for MRO        that they would not deface parts before returning
Services. Id. ¶¶ 125-28 & Exs. A-C. They allegedly lost some     “unsalvageable parts” to customers, so long as the customers
of the parts after assigning them work order numbers. Id. ¶¶     would sign an indemnification agreement holding Defendants
127-31. SafranHE USA and SafranHE Canada marked some             harmless and commit not to equip Defendants' engines with
other parts as “scrap” but sent them to SafranHE France to be    unserviceable parts. Id. ¶¶ 176-77. Defendants' authorized
made serviceable again. Id. ¶¶ 136-38. According to Plaintiff,   service providers adopted similar requirements for returning
SafranHE USA and SafranHE Canada agreed to compensate            unserviceable parts. Id. ¶¶ 178-82.
Plaintiff for some of these parts, and the parties continued
discussing compensation for the remaining lost parts. Id. ¶¶     In addition to its allegations regarding the Defacing Policy,
132-35, 139-47.                                                  Plaintiff complains about Defendants' policy regarding
                                                                 engines and parts involved in an accident (the “Accident
Plaintiff further alleges that SafranHE USA and SafranHE         Policy”) and SafranHE USA and SafranHE Canada's refusal
Canada instituted a policy of “defacing” parts by scratching     to certify or return parts serviced by Plaintiff. Id. ¶ 185.
through the part or serial number, engraving a triangle          Pursuant to the Accident Policy, Defendants allegedly
into the part, or otherwise physically damaging the part         restricted the scope of available repair services unless certain
(the “Defacing Policy”). Id. ¶ 148. A part that has been         conditions are met, id. ¶ 184, and SafranHE USA refused
defaced allegedly cannot be repaired or serviced pursuant        to return Plaintiff's parts certified “as is.” Id. ¶¶ 190, 193,
to Federal Aviation Administration (“FAA”) regulations. Id.      290-92. Plaintiff, however, alleges that it never agreed to
¶ 149. Even if a part was “scrap,” it was still valuable to      be bound by this policy, that the policy is contrary to the
Plaintiff, Defendants, and their customers, because it could     parties' course of dealing, and that the policy is not required
become approved for use in engines if, among other things,       by FAA regulations. Id. ¶¶ 186-88, 191-92. Additionally,
the manufacturer increased the usage or service life, or the     Defendants allegedly refused to repair or certify parts that
manufacturer or the FAA approved a new repair method. Id.        Plaintiff serviced because Plaintiff was not “approved” to
¶¶ 150-51. Moreover, Plaintiff alleges that the defacing of      perform Level 3 and 4 services. Id. ¶¶ 194-95. As a result,
its parts was contrary to the parties' course of dealing, FAA    Plaintiff contends that its parts are not as marketable or
regulations, and SafranHE USA's and SafranHE Canada's            profitable. Id. ¶ 198.
terms and conditions. Id. ¶¶ 152-58, On prior occasions,
SafranHE USA and SafranHE Canada allegedly offered to
compensate Plaintiff for the defaced parts. Id. ¶¶ 156-57.
                                                                    D. The Dispute Plaintiff's Role as a Service Provider
In late 2008 or early 2009, however, SafranHE USA began
                                                                  *5 In 2007 and 2008, Plaintiff and SafranHE USA discussed
holding Plaintiff's unserviceable parts pending policy review
                                                                 allowing Plaintiff to be an authorized provider of “Level
and gave Plaintiff an option of either allowing SafranHE
                                                                 3” MRO Services. Id. ¶ 383. To meet SafranHE USA's
USA to hold Plaintiff's parts, or allowing it to return the
                                                                 requirements, Plaintiff trained personnel and made other
parts defaced. Id. ¶¶ 159-60. Plaintiff claims that SafranHE
                                                                 investments. Id. ¶ 385. Nonetheless, SafranHE France,
USA did not inform it of any decision to change the original
                                                                 through SafranHE USA, denied Plaintiff's request to become
course of dealing, but also alleges that SafranHE USA began
                                                                 an authorized service provider in 2008 and again in 2009. Id.
including language in their quotes authorizing SafranHE USA
                                                                 ¶¶ 386-88.
to deface the parts. Id. ¶¶ 162-63. SafranHE USA emailed
Plaintiff about the new Defacing Policy on April 25, 2011,
                                                                 In 2010, however, SafranHE USA offered Plaintiff a
and sought to impose the policy on any part already stored.
                                                                 Maintenance Authorization Agreement (“MAA”), which
Id. ¶¶ 164, 290-92. Subsequent attempts to resolve the dispute
                                                                 allowed Plaintiff to perform Level 3 maintenance. Id. ¶ 389.
were unfruitful, with SafranHE France requiring SafranHE
                                                                 Plaintiff maintains that it could not negotiate any change
USA to implement the policy, and Plaintiff objecting to it
                                                                 to this agreement because of its significant investment, and
and refusing to allow its parts to be defaced. Id. ¶¶ 165-69,
                                                                 so agreed. Id. The MAA obligated Defendants to provide



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Plaintiff with various documentation including technical            the MRO Services market. Id. ¶¶ 421-58. The MAAs
information. Id. ¶¶ 389-92. Either party could terminate the        purportedly insulate Defendants from rivals offering less
MAA for any reason, provided it gave ninety days' written           expensive engine parts and services. Id. ¶¶ 433-34, 451-52.
notice. Id. ¶ 393. A breaching party had thirty days to cure a      Plaintiff alleges to have been harmed by its own MAA and by
breach of the MAA. Id. ¶ 394.                                       SafranHE USA's MAA with HSN. Id. ¶¶ 438, 457.

In May 2012, SafranHE USA and SafranHE France
terminated Plaintiff's access to certain technical information.
                                                                                 (2) Defacing and Accident Policies
Id. ¶¶ 395-402. Moreover, SafranHE USA allegedly breached
the MAA by refusing to train Plaintiff's technicians. Id. ¶         Plaintiff also complains that Defendants conspired together
                    5                                               and with other MRO Service Providers to implement the
411. Mike Gaines admitted to SafranHE USA's president
that the MAA was still in effect, but suggested that it be          “Defacing Policy” and the Accident Policy. Id. ¶¶ 270-76.
terminated. Id. ¶ 403. According to Plaintiff, SafranHE USA         SafranHE France specifically required authorized service
attempted to formally terminate the MAA in August 2014,             providers to abide by the Defacing Policy, and Defendants
when it sent Plaintiff a notice of termination due to Plaintiff's   required service providers to observe the Accident Policy
breach of the MAA. Id. ¶ 404, Plaintiff alleges, however,           through a series of service letters. Id. ¶¶ 275-77. For example,
that the termination letter was not effective to terminate the      SafranHE USA and SafranHE France purportedly entered
agreement because Plaintiff did not receive notice that it was      into contracts with service providers Heli-One Colorado, Inc.,
in breach of the MAA. 6 Id. ¶ 405. Plaintiff further alleges        Heli-One Canada, Inc., and Heli-One American Support LLC
that it had a right to continued access to Defendants' technical    (collectively “Heli-One”), Advanced Helicopter Services
information because of its substantial investment. Id. ¶ 406.       of Woodland, CA (“Advanced”), and Vector Aerospace
                                                                    Helicopter Services, Inc. (“Vector”), requiring the service
5                                                                   providers to observe Defendants' policies. Id. ¶ 278. Thus,
        The Complaint does not state who Gaines is.                 Heli-One, Advanced, and Vector have Defacing Policies.
6                                                                   Id. ¶¶ 279-83. Additionally, Defendants and other service
        At an unspecified time, Defendants did notify
                                                                    providers return unserviceable parts only after a customer
        Plaintiff that Plaintiff was breaching the MAA by
                                                                    agrees to indemnify and hold them harmless, and agrees not
        failing to maintain trained technicians, failing to
                                                                    to use unserviceable parts in Defendants' engines or other
        comply with audit requirements, and failing to
                                                                    helicopters. Id. ¶¶ 285-87. Similarly, Plaintiff claims that
        maintain insurance. Id. ¶ 408. Plaintiff disputes that
                                                                    SafranHE USA and SafranHE Canada contracted with Heli-
        it breached any provision. Id. ¶¶ 408-10, 412.
                                                                    One, Vector, and Advanced to enforce the Accident Policy,
                                                                    meaning that Plaintiff has no available provider to make parts
            E. Alleged Anticompetitive Conduct                      involved in an accident serviceable again. Id. ¶ 288.

According to Plaintiff, Defendants engaged in various                *6 According to Plaintiff, the alleged contracts adopting,
anticompetitive conduct. Plaintiffs allegations can be grouped      and the purported conspiracy to adopt, the Defacing Policy
into the following categories: (1) MAAs; (2) the Defacing           and Accident Policy suppresses intrabrand competition in
Policy and the Accident Policy; (3) the Fleet Service               both the engine and parts market and the MRO Services
Agreements; (4) alleged price fixing; (5) alleged group             market. Id. ¶ 294. The contracts and conspiracy allegedly
boycott; (6) alleged exclusive supply agreements; (7)               allow Defendants to entrench their position in the markets for
other restraints on MRO Services; and (8) monopolization            their own parts and services. Id. ¶ 299. In other words, the
allegations.                                                        alleged conduct is meant to prevent the emergence of a market
                                                                    for second-hand parts and for unauthorized repair centers. Id.
                                                                    ¶¶ 300-02.
        (1) Maintenance Authorization Agreements

Plaintiff alleges that the MAAs SafranHE USA signed with                      (3) Fleet Parts and Service Agreements
Plaintiff and Helicopter Services of Nevada LLC (“HSN”)
restrain competition in the engines and parts market and



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SafranHE USA and SafranHE Canada allegedly entered into            Plaintiff claims that Defendants entered into exclusive supply
Fleet Service Agreements or Fleet Parts Agreements with            agreements with Zodiac Aerospace (“Zodiac”) and other
owners of helicopter fleets. Under a Fleet Service Agreement,      vendors, such that the vendors agreed to supply engine
a fleet owner is granted access to technical information           parts and accessories only to Defendants. Id. ¶¶ 615-18.
solely for the purpose of performing services on Defendants'       Defendants allegedly entered into such agreements to ensure
parts that the owners owned, leased, or operated. Id. ¶ 461.       control over pricing, quality, and reliability. Id. ¶¶ 617, 624.
SafranHE USA purportedly has such agreements with HSN              Plaintiff asserts that customers complain that these supply
and Papillon Airways, Inc. (“Papillon”), Id., ¶¶ 452-65. A         agreements increase time and cost. Id. ¶¶ 618-22. Plaintiff
Fleet Parts Agreement, in turn, provides that SafranHE USA's       argues that this vertical restraint harmed Plaintiff, increased
or SafranHE Canada's certification of any part they service        costs for consumers, and was unreasonable, unjustified, and
for a fleet owner is nontransferable. Id. ¶ 479. According to      anticompetitive. Id. ¶¶ 626-40.
Plaintiff, these agreements suppress intrabrand competition
for Defendants' parts and have harmed Plaintiff. Id. ¶¶ 466,
471-75, 484, 489-94.
                                                                              (7) Other Restraints on MRO Services

                                                                   Plaintiff alleges that Defendants imposed other unreasonable
                       (4) Price Fixing                            restraints on MRO Services. Defendants allegedly: (1)
                                                                   required the use of Defendants' parts and prohibited the
Plaintiff claims that Defendants conspired to fix the price        installation of a customer's own parts or parts from other
of MRO Services. Id. ¶ 497-502. Specifically, SafranHE             repair stations not authorized by Defendants; (2) conditioned
USA allegedly entered into agreements with Heli-One,               the sale of some services on the purchase of modifications
Advanced, Arrow Aviation Company LLC (“Arrow”), and                a customer has not requested; and (3) conditioned the return
Precision Aviation Services (“Precision”), whereby these           of parts used in a level of service a customer is not allowed
service providers agreed not to “undercut” SafranHE USA's          to perform on the return of the part to an authorized service
MRO Services pricing. Id. ¶¶ 497-500. Advanced, in turn,           center, Id. ¶¶ 644-53. These restraints harmed Plaintiff and
entered into similar agreements with Rorotech Services, Inc.       are allegedly unreasonable, unjustified, and anticompetitive.
(“Rorotech”) and Helicopter Specialties, Inc. (“Helicopter         Id. ¶¶ 653-65.
Specialties”). Id. ¶ 501. Plaintiff contends that this scheme
harms intrabrand competition and has caused Plaintiff to pay
higher prices for MRO Services. Id. ¶¶ 508-12.
                                                                                  (8) Monopolization Allegations

                                                                    *7 Finally, Plaintiff alleges that Defendants monopolized or
                      (5) Group Boycott                            attempted to monopolize the markets for Defendants' engines
                                                                   and parts and MRO Services by: (1) preventing competition
According to the Complaint, Defendants were also concerned         from manufacturers of substitute parts by directing repair
with whether Plaintiff was a true end user of its parts,           centers to throw away any substitute part found in Defendants'
or whether it was secretly reselling them. Id. ¶¶ 555-56.          engines and by informing its customers of this fact; and
Defendants asked Plaintiff about the real end user and were        (2) preventing unauthorized repair centers from accessing
allegedly not convinced by the information Plaintiff provided.     Defendants' technical information. Id. ¶¶ 689-92, 701. By
Id. ¶¶ 557-59. Beginning in February 2015, SafranHE                taking these actions, Defendants were purportedly able to
USA allegedly instructed its network of authorized service         obtain or maintain monopoly power in the relevant markets.
providers not to do business with Plaintiff. Id. ¶¶ 561-65. This   Id. ¶¶ 693-96, 700.
alleged group boycott was aimed at eliminating the market for
second-hand parts, and harmed competition and Plaintiff. Id.
¶¶ 560-77.
                                                                                    F. Summary of the Claims

                                                                   Plaintiff alleges thirty separate state and federal law claims
              (6) Exclusive Supply Agreements                      against Defendants. For the sake of clarity, the Court will
                                                                   group these claims into four categories: (1) breach of contract


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claims; (2) antitrust claims; (3) tort claims; and (4) deceptive      SafranHE Canada to breach their contracts with Plaintiff, and
practices claims.                                                     so is liable for tortious interference with contracts or existing
                                                                      business relationships. In Counts XV and XVI, Plaintiff
                                                                      alleges that SafranHE USA is liable for tortious interference
                                                                      because it instructed Advanced to breach its contracts with
                (1) Breach of Contract Claims
                                                                      Plaintiff, to not do business with Plaintiff, or to refuse to
In Count I, Plaintiff alleges that SafranHE USA and                   extend Plaintiff credit, and otherwise restricted that business
SafranHE Canada breached an express or implied contract by            relationship. In Count XIX, Plaintiff claims that SafranHE
losing, misappropriating, defacing, withholding, or refusing          USA tortiously interfered with its business relationship with
to certify Plaintiff's parts. In Count VIII, Plaintiff alleges that   Zodiac by instructing it not to deal with Plaintiff. Count
SafranHE USA and SafranHE France breached the MAA.                    XXVI recasts the aforementioned conduct as a claim for civil
                                                                      conspiracy.


                      (2) Antitrust Claims
                                                                                     (4) Deceptive Practices Claims
In Counts V and VI, brought under Sherman Act § 1 and
California's Cartwright Act, respectively, Plaintiff alleges           *8 Plaintiff alleges two sets of claims arising out
that Defendants are liable for conspiring and entering into           of SafranHE USA's allegedly deceptive conduct. First,
the Defacing Policy and Accident Policy together and with             according to Plaintiff, SafranHE USA falsely stated in
other service providers. In Count VII, Plaintiff alleges that         service bulletins and marketing that all manuals and technical
Defendants imposed the Defacing Policy on its unwilling               documentation were proprietary and not available to service
customers in violation of Sherman Act § 1. In Counts IX and           providers not approved by SafranHE USA. Id. ¶¶ 733-36.
X, Plaintiff alleges that the MAAs Defendants signed with             This statement was allegedly false because the FAA recently
Plaintiff and HSN unreasonably restrain trade in violation of         suggested that a manufacturer may not deny access to such
Sherman Act § 1. In Counts XI and XII, Plaintiff claims that          technical information. Id. ¶¶ 737, 745, 758. Plaintiff alleges
the Fleet Service Agreements and the Fleet Parts Agreements           in Counts XXVII and XXVIII that these statements are
violate Sherman Act § 1. In Counts XIII and XIV, Plaintiff            actionable under Lanham Act § 35 or as common law unfair
seeks to recover under Sherman Act § 1 and the Cartwright             competition through deceptive marketing. Id. ¶¶ 732-63.
Act, respectively, for the alleged price fixing. Counts XVII
and XVIII purport to state claims under Sherman Act § 1               Second, Plaintiff complains of a certain helicopter engine
and the Cartwright Act, respectively, for the alleged group           module (“Module 3”). Id. ¶ 765. SafranHE USA allegedly
boycott. In Count XX, Plaintiff claims that the alleged               serviced and overhauled this module in October 2009. Id.
exclusive supply agreements violate Sherman Act § 1, Count            ¶ 766. At the time of the service, SafranHE USA allegedly
XXI states a Sherman Act § 1 claim premised on the                    knew that its current service procedure caused problems
various other restraints Defendants impose on the MRO                 with the module's blades, and had already developed a
Services. In Counts XXII and XXIII Plaintiff seeks damages            new procedure to address this problem. Id. ¶¶ 773-76.
and an injunction for Defendants' alleged monopolization              Nonetheless, SafranHE USA allegedly serviced the module
or attempted monopolization of the relevant markets under             pursuant to the old procedure, concealed the issue from
Sherman Act § 2. Finally, Plaintiff appears to recast all of          the owner of the module, and intentionally or negligently
the alleged claims under the Kansas Restraint of Trade Act in         misrepresented to the owner that the module would operate
Counts XXIV and XXV.                                                  for 800 hours. Id. ¶¶ 769, 778-79. After Plaintiff purchased
                                                                      the module and resold it to “Heli Afrique,” it failed after only
                                                                      96.5 hours of service. Id. ¶¶ 770, 784. SafranHE USA refused
                                                                      to repair it, informing Plaintiff that there was no justifiable
                        (3) Tort Claims
                                                                      reason for extending the warranty period. Id. ¶¶ 784-86,
In Count II, Plaintiff alleges that Defendants are all liable         789. Based on the foregoing allegations, Plaintiff alleges
as bailees for wrongful detention, conversion, or negligence          that SafranHE USA's statements regarding the availability of
of Plaintiff's parts. Plaintiff alleges in Counts III and IV that     the new service procedure and the lack of justifiable reason
SafranHE France directed or induced SafranHE USA and                  for extending the warranty were false or misleading. Id. ¶¶



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789, 797, 800-12. Plaintiff seeks to hold SafranHE USA
liable for these alleged false statements in Count XXIX,
                                                                                      B. Personal Jurisdiction
under the DTPA, and in Count XXX, under theories of
misrepresentation or concealment.                                   *9 Federal Rule of Civil Procedure 12(b)(2) allows
                                                                   defendants to move to dismiss claims for lack of personal
                                                                   jurisdiction. The plaintiff bears the burden of making a
                    G. Pending Motions                             prima facie showing that a court has personal jurisdiction
                                                                   over a defendant. Monkton Ins. Servs., Ltd. v. Ritter, 768
In their Motions, Defendants raise multiple reasons for the        F.3d 429, 431 (5th Cir. 2014), In considering a motion to
Court to dismiss twenty-seven Counts in whole or in part.          dismiss pursuant to Rule 12(b)(2), the court must accept
SafranHE USA argues that Plaintiff did not sufficiently            the plaintiff's “uncontroverted allegations, and resolve in its
plead claims under the Sherman Act, Cartwright Act,                favor all conflicts.” Alpine View Co. v. Atlas Copco AB,
Kansas Restraint of Trade Act, Lanham Act, or for unfair           205 F.3d 208, 215 (5th Cir. 2000), The court may consider
competition, tortious interference, and civil conspiracy. See      “affidavits, interrogatories, depositions, oral testimony, or any
Br. of SafranHE USA (hereinafter, “Br.”) 3-17, 19-25.              combination of the recognized methods of discovery.” Stuart
SafranHE USA also argues that some of Plaintiff's antitrust        v. Spademan, 772 F.2d 1185, 1192 (5th Cir. 1985).
claims are barred by the applicable statutes of limitations.
See id. 17-19. The International Defendants join SafranHE          Because Texas's long-arm statute extends to the limits of
USA's arguments, but also ask the Court to dismiss the             federal due process, this Court has personal jurisdiction over a
alter ego allegations, to hold that the Court lacks subject        nonresident defendant so long as the assertion of jurisdiction
matter jurisdiction over the antitrust claims, and to hold that    comports with the Due Process Clause of the United States
SafranHE France is not subject to personal jurisdiction over       Constitution. See Sangha v. Navig8 ShipManagement Private
any claims asserted against it. See Int'l Defs.' Br. 4-25.         Ltd., 882 F.3d 96, 101 (5th Cir. 2018), “Due process requires
                                                                   that the defendant have ‘minimum contacts’ with the forum
                                                                   state ... and that exercising jurisdiction is consistent with
                                                                   ‘traditional notions of fair play and substantial justice.’ ” Id.
                 II. LEGAL STANDARDS
                                                                   (quoting Johnston v. Multidata Sys. Int'l Corp., 523 F.3d 602,
                                                                   609 (5th Cir. 2008)).
               A. Subject Matter Jurisdiction
                                                                   Personal jurisdiction can be general or specific. See Lewis
Under the Constitution, a federal court may decide only actual
                                                                   v. Fresne, 252 F.3d 352, 358 (5th Cir. 2001). General
cases or controversies. U.S. CONST. art. III, § 2. A court
                                                                   jurisdiction allows a court to hear any claim against a
properly dismisses a case where it lacks the constitutional
                                                                   nonresident defendant, and it exists when that defendant's
power to decide it. See Home Builders Ass'n of Miss., Inc.
                                                                   “affiliations with [Texas] are so ‘continuous and systematic’
v. City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998).
                                                                   as to render them essentially at home in [Texas].” Daimler
Dismissal for lack of subject matter jurisdiction is warranted
                                                                   AG v. Bauman, 571 U.S. 117, 127 (2014) (quoting Goodyear
when “it appears certain that the plaintiff cannot prove any set
                                                                   Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915,
of facts in support of his claim that would entitle plaintiff to
                                                                   919 (2011)). “Establishing general jurisdiction is ‘difficult’
relief.” Gilbert v. Donahoe, 751 F.3d 303, 307 (5th Cir. 2014)
                                                                   and requires ‘extensive contacts between a defendant and a
(quoting Ramming v. United States, 281 F.3d 158, 161 (5th
                                                                   forum.’ ” Sangha, 882 F.3d at 101-02 (quoting Johnston, 523
Cir. 2001)). “Lack of subject matter jurisdiction may be found
                                                                   F.3d at 609).
in any one of three instances: (1) the complaint alone; (2) the
complaint supplemented by undisputed facts evidenced in the
                                                                   In evaluating specific jurisdiction, courts consider:
record; or (3) the complaint supplemented by undisputed facts
plus the court's resolution of disputed facts.” Ramming, 281
F.3d at 161 (citing Barrera-Montenegro v. United States, 74
                                                                                (1) whether the defendant has
F.3d 657, 659 (5th Cir. 1996)).
                                                                                minimum contacts with the forum
                                                                                state, i.e., whether it purposely
                                                                                directed its activities toward the forum


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             state or purposefully availed itself of                  must “plead[ ] factual content that allows the court to draw
             the privileges of conducting activities                  the reasonable inference that the defendant is liable for the
             there; (2) whether the plaintiff's cause                 misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678
             of action arises out of or results                       (2009). Plausibility does not require probability, but a plaintiff
             from the defendant's forum-related                       must establish “more than a sheer possibility that a defendant
             contacts; and (3) whether the exercise                   has acted unlawfully.” Id. The court must accept well-pleaded
             of personal jurisdiction is fair and                     facts as true and view them in the light most favorable to the
             reasonable.                                              plaintiff. Sonnier v. State Farm Mut. Auto. Ins., 509 F.3d 673,
                                                                      675 (5th Cir. 2007). However, the court does not accept as
                                                                      true “conclusory allegations, unwarranted factual inferences,
Carmona v. Leo Ship Mgmt., Inc., 924 F.3d 190, 193 (5th               or legal conclusions.” Ferrer v. Chevron Corp., 484 F.3d 776,
Cir. 2019) (quoting Seiferth v. Helicopteros Atuneros, Inc.,          780 (5th Cir. 2007). A plaintiff must provide “more than labels
472 F.3d. 266, 271 (5th Cir. 2006)). “In order for a ... court        and conclusions, and a formulaic recitation of the elements
to exercise specific jurisdiction, ‘the suit’ must ‘aris[e] out       of a cause of action will not do.” Twombly, 550 U.S. at
of or relat[e] to the defendant's contacts with the forum.’ ”         555 (internal citations omitted). “Factual allegations must be
Bristol-Myers Squibb Co. v. Super. Ct., 137 S. Ct. 1773, 1780         enough to raise a right to relief above the speculative level ...
(2017) (first alteration added) (quoting Daimler AG, 571 U.S.         on the assumption that all the allegations in the complaint are
at 127). “In other words, there must be ‘an affiliation between       true (even if doubtful in fact).” Id. (internal citations omitted).
the forum and the underlying controversy, principally, [an]
activity or an occurrence that takes place in the forum State         The ultimate question is whether the complaint states a valid
and is therefore subject to the State's regulation.’ ” Id.            claim when viewed in the light most favorable to the plaintiff.
(alteration in original) (quoting Goodyear, 564 U.S. at 919).         Great Plains Tr. Co. v. Morgan Stanley Dean Witter & Co.,
                                                                      313 F.3d 305, 312 (5th Cir. 2002). At the motion to dismiss
The minimum contacts analysis is fact intensive, and the              stage, the court does not evaluate the plaintiff's likelihood of
touchstone is “whether the defendant's conduct shows that it          success. It only determines whether the plaintiff has stated a
‘reasonably anticipates being hauled into court’ ” in the forum       claim upon which relief can be granted. Mann v. Adams Realty
state. McFadin v. Gerber, 587 F.3d 753, 759 (5th Cir. 2009)           Co., 556 F.2d 288, 293 (5th Cir. 1977).
(quoting Luv N' care, Ltd. v. Insta-Mix, Inc., 438 F.3d 465,
470 (5th Cir. 2006)). Once the plaintiff establishes minimum
contacts, the burden shifts to the defendant to show that the                                 III. ANALYSIS
exercise of jurisdiction is “unfair and unreasonable.” Sangha,
882 F.3d at 102. In determining whether the defendant has
carried this burden, courts balance five factors: (1) the burden                                A. Alter Ego
on the nonresident defendant of having to defend itself in the
                                                                      The Complaint states that “[D]efendants are the alter-egos
forum; (2) the interests of the forum state in the case; (3) the
                                                                      of one another.” Third Am. Compl. ¶¶ 20-24. A sufficiently
plaintiff's interest in obtaining convenient and effective relief;
                                                                      pleaded alter ego theory could affect the Court's analysis
(4) the interstate judicial system's interest in the most efficient
                                                                      of the challenges to its subject matter jurisdiction or its
resolution of controversies; and (5) the shared interests of the
                                                                      personal jurisdiction over the International Defendants, and
states in furthering fundamental social policies. Id.
                                                                      so the Court will address this issue first. See, e.g., Patin v.
                                                                      Thoroughbred Power Boats Inc., 294 F.3d 640, 653 (5th Cir.
                                                                      2002) (“[A] court [may] exercise personal jurisdiction over ...
                  C. Failure to State a Claim                         a corporation that would not ordinarily be subject to personal
                                                                      jurisdiction in that court when the ... corporation is an alter
 *10 To defeat a motion to dismiss filed pursuant to Federal          ego ... of a corporation that would be subject to personal
Rule of Civil Procedure 12(b)(6), a plaintiff must plead              jurisdiction in that court.” (collecting cases)).
“enough facts to state a claim to relief that is plausible on its
face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007);          The Court resolves alter ego issues by considering “the
Reliable Consultants, Inc. v. Earle, 517 F.3d 738, 742 (5th Cir.      totality of the circumstances,” in light of the following list of
2008). To meet this “facial plausibility” standard, a plaintiff       non-exhaustive factors:


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                                                                      *11 The Court finds that the Complaint lacks sufficient
             (1) the parent and the subsidiary                       factual allegations to suggest that the Defendants are alter
             have common stock ownership; (2)                        egos of one another. First, the Court does not credit Plaintiff's
             the parent and the subsidiary have                      conclusory allegation that “there has existed ... a unity of
             common directors or officers; (3)                       interest in ownership and control between [Defendants].”
             the parent and the subsidiary have                      Third Am. Compl. ¶ 20. This leaves only one allegation to
             common business departments; (4)                        support the alter ego theory: that SafranHE France exercised
             the parent and the subsidiary file                      substantial decision-making power over the other Defendants,
             consolidated financial statements and                   See id. ¶¶ 21-24. After foraging the Complaint for examples
             tax returns; (5) the parent finances                    of such control, the Court found the following allegations: (1)
             the subsidiary; (6) the parent caused                   SafranHE France decided who would be an authorized service
             the incorporation of the subsidiary; (7)                provider, see id. ¶¶ 52-53; (2) SafranHE France imposed
             the subsidiary operates with grossly                    various policies upon the other Defendants, see id. ¶¶ 55,
             inadequate capital; (8) the parent pays                 149, 186; and (3) the other Defendants shipped parts to
             the salaries and other expenses of the                  SafranHE France for repairs, see id. ¶ 138. Even accepting
             subsidiary; (9) the subsidiary receives                 these allegations as true, the relationship between Defendants
             no business except that given to it                     is a far cry from “such unity between [the corporations] that
             by the parent; (10) the parent uses                     the separateness of the corporation[s] has ceased.” Res. Dev.
             the [subsidiary's] property as its own;                 Int'l, 487 F.3d at 302. Thus, the Court finds that Plaintiff
             (11) the daily operations of the two                    did not plead sufficient facts to show that Defendants are
             corporations are not kept separate; and                 alter egos of one another. Accordingly, the Court grants
             (12) the subsidiary does not observe                    the Motions as to the alter ego allegations and will treat
             the basic corporate formalities, such                   Defendants separately for jurisdictional purposes.
             as keeping separate books and records
             and holding shareholder and board
             meetings.                                                                       B. Jurisdiction

                                                                     Having determined that the Complaint does not state a
Gundle Lining Constr. Corp. v. Adams Cty. Asphalt, Inc.,             viable alter ego claim, the Court now turns to whether the
85 F.3d 201, 208-09 (5th Cir. 1996) (quoting United States           Complaint alleges sufficient facts to establish the Court's
v. Jon-T Chems., Inc., 768 F.2d 686, 691-92, 694 (5th Cir.           subject matter jurisdiction and personal jurisdiction. Here,
1985)). Texas state courts consider similar factors. See, e.g.,      Defendants raise four arguments: (1) that the Foreign Trade
Mancorp, Inc. v. Culpepper, 802 S.W.2d 226, 229 (Tex.                Antitrust Improvements Act (“FTAIA”) bars the federal
1990). Generally, the Court will only find corporations to be        antitrust claims against them; (2) that the FTAIA also bars the
alter egos of one another “when there is such unity between          state antitrust claims; (3) that Plaintiff lacks standing to bring
[the corporations] that the separateness of the corporation[s]       a Cartwright Act claim; and (4) that the Court lacks personal
has ceased and holding only [one] corporation liable would           jurisdiction over SafranHE France. For the reasons stated
result in injustice.” SEC v. Res. Dev. Int'l, LLC, 487 F.3d          below, the Court finds that it lacks subject matter jurisdiction
295, 302 (5th Cir. 2007) (quoting Castleberry v. Branscum,           over Counts IX and X as to the International Defendants, lacks
721 S.W.2d 270, 272 (Tex. 1986)). The Court can dismiss an           subject matter jurisdiction over Count XI as to SafranHE
alter ego claim where the complaint lacks sufficient factual         Canada, and lacks personal jurisdiction over SafranHE France
allegations to state the claim. See, e.g., In re Parkcentral Glob.   as to Count II. The Court otherwise denies the Motions to
Litig., Civ. A. No. 3:09-CV-0765-M, 2010 WL 3119403, at              dismiss on these bases.
*10-11 (N.D. Tex. Aug. 5, 2010) (dismissing a claim to pierce
the corporate veil); Rolls-Royce Corp. v. Heros, Inc., 576 F.
Supp. 2d 765, 789 (N.D. Tex. 2008) (dismissing alter ego                         (1) FTAIA and Sherman Act Claims
claim where complaint was devoid of factual assertions in
support of it).


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The FTAIA limits the application of the federal antitrust           See 15 U.S.C. § 6a(1); Hartford Fire Ins., 509 U.S. at 796
laws when non-import foreign commerce is involved. See              n.23.
15 U.S.C. § 6a; Den Norske Stats Oljieselskap As v.
HeereMac Vof, 241 F.3d 420, 421 (5th Cir. 2001). The FTAIA           *12 Accordingly, the Court finds that it lacks subject matter
specifically excludes claims under the Sherman Act for non-         jurisdiction over Counts IX and X insofar as they are pleaded
import activity unless (1) the conduct has a direct, substantial,   against the International Defendants, and Count XI against
and reasonably foreseeable effect on United States imports,         SafranHE Canada.
domestic commerce, or United States exports, and (2) such
effect gives rise to a claim under the Sherman Act. See 15
U.S.C. § 6a(1); Hartford Fire Ins. v. California, 509 U.S. 764,
                                                                             (2) FTAIA and State Law Antitrust Claims
796 n.23 (1993). The FTAIA also “precludes subject matter
over claims by foreign plaintiffs against defendants where          The International Defendants assert that the FTAIA also
the situs of the injury is overseas and that injury arises from     bars the Kansas and California antitrust claims against them
effects in a non-domestic market.” Den Norske, 241 F.3d at          (Counts VI, XIV, XVIII, XXIV, and XXV), see Int'l Defs.'
428.                                                                Br. 17-18, and Plaintiff does not respond to this argument.
                                                                    The Court, however, liberally construes Plaintiff's Response
In this case, the Court finds that the FTAIA does not bar           to encompass the International Defendants' challenge of this
the antitrust claims pleaded in Counts V, VII, XI (against          Court's subject matter jurisdiction over the state antitrust
SafranHE France only), XII, XIII, XVII, XXI, and XXII.              claims. First, the Court notes that it is without binding
For these Counts, Plaintiff alleged that the International          authority as to whether the FTAIA extends to state law claims.
Defendants' conduct harmed domestic commerce and                    Some federal courts have concluded that it does. See In re
Plaintiff, a domestic corporation. See, e.g., Third Am. Compl.      TFT-LCD (Flat Panel) Antitrust Litig., No. C 12-3802 SI,
¶¶ 298, 374, 702. Moreover, Plaintiff alleged that the              2014 WL 1568870, at *4 (N.D. Cal. Apr. 18, 2014) (collecting
International Defendants either directly participated in the        cases, but refusing to reach the issue). The Court does not
U.S. markets, see, e.g., id. ¶¶ 245, 285, 358, 672, 701,            need to decide this question, however, because all of the state
entered into alleged anticompetitive agreements with U.S.           law claims allege that the International Defendants engaged
companies, see, e.g., id. ¶¶ 273, 278, 280, 463, 479, 503, or       in domestic conduct that caused domestic harm. See Third
allegedly conspired to restrain U.S. commerce, see, e.g., ¶¶        Am. Compl. ¶¶ 311, 326, 338, 341, 517-21, 523, 530, 532,
270, 483, 561, 643, 645. At this stage of the litigation, these     588, 592, 597, 710-12, 719-21. Accordingly, even if the Court
allegations are sufficient for the Court to exercise subject        found that the FTAIA extends to the Cartwright Act and
matter jurisdiction over these claims.                              the Kansas Restraint of Trade Act, a conclusion the Court
                                                                    specifically does not reach, the Court would find that it has
Conversely, the Court finds that it lacks subject matter            subject matter jurisdiction over these claims.
jurisdiction over the antitrust claims asserted against the
International Defendants in Counts IX and X, and against
SafranHE Canada in Count XI. In Counts IX and X,
                                                                                      (3) Personal Jurisdiction
Plaintiff alleged only that SafranHE France had a practice
of denying access to technical information to unauthorized          SafranHE France also moves to dismiss all claims brought
service centers, see id. ¶¶ 425, 444, and that SafranHE France      against it, arguing that the Court lacks personal jurisdiction
“approved the restraint in the ... MAA[s].” See id. ¶¶ 426,         over it. The Court finds that it lacks personal jurisdiction over
444. Plaintiff cannot, however, state a Sherman Act § 1 claim       SafranHE France as to Count II, but finds that it has specific
against SafranHE France premised on its approval of the             or pendent personal jurisdiction over SafranHE France as to
contract alone, absent allegations that it was a party to the       the other Counts.
contract or a co-conspirator. See Rio Grande Royalty Co.
v. Energy Transfer Partners, L.P., 786 F. Supp. 2d 1190,
1199-1200 (S.D. Tex. 2009). As for SafranHE Canada, the
Complaint is silent about its involvement in these allegations;                        a. General Jurisdiction
therefore, Plaintiff has not pleaded conduct that gives rise to a
                                                                    As explained above, general jurisdiction allows a court
Sherman Act claim against SafranHE Canada in these Counts.
                                                                    to hear any claim against a nonresident defendant, and it


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exists when that defendant's “affiliations with [Texas] are so     every circuit to decide the issue have approved the doctrine.”
‘continuous and systematic’ as to render them essentially at       Id. In this case, SafranHE France argues that Plaintiff did
home in [Texas].” Daimler AG, 571 U.S. at 127 (quoting             not plead sufficient minimum contacts for the Court to
Goodyear, 564 U.S. at 919). “It is ... incredibly difficult to     exercise jurisdiction over it, but does not argue that the
establish general jurisdiction in a forum other than the place     exercise of personal jurisdiction would be otherwise unfair or
of incorporation or principal place of business.” Monkton,         unreasonable. See Int'l Defs.' Br. 18-21.
768 F.3d at 432 (citations omitted). Plaintiff does not contend
in its response that the Court has general jurisdiction over       The Court finds that it has specific or pendent personal
SafranHE France. Nor could it, as the Complaint makes clear        jurisdiction over SafranHE France as to Counts III, IV, V, VI,
that SafranHE France is a French company. See Third Am.            VII, VIII, IX, X, XI, XII, XIII, XIV, XXI, XXII, XXIII, XXIV,
Compl. ¶ 7. Moreover, SafranHE France's main customer              XXV, and XXVI. For each of these Counts, Plaintiff alleged
is headquartered in France, and nothing in the Complaint           that SafranHE France either contracted with, conspired with,
suggests that SafranHE France's principal place of business is     or directed a Texas or domestic entity to engage in certain
anywhere in the United States, See id. ¶ 71. Accordingly, the      conduct—e.g., to adopt the Defacing and Accident Policies,
Court finds that it lacks general jurisdiction over SafranHE       to authorize the defacing of unserviceable parts, or to set
France.                                                            prices, refuse services to a customer. See, e.g., Third Am.
                                                                   Compl. ¶¶ 278, 350, 498-503, 558-62. The Court finds that
                                                                   these allegations suffice to show minimum contacts with the
                                                                   forum and a claim arising out of those contacts. See Access
                   b. Specific Jurisdiction
                                                                   Telecom, 197 F.3d at 719 (“While [the defendant] did not
The specific jurisdiction analysis differs for federal antitrust   conduct much business in Texas, it conducted a high volume
claims and state law claims. For the federal antitrust claims,     of business with Texas and Texas corporations. It was this
“jurisdiction over [SafranHE France] may be obtainable             business with which [the defendant] was concerned when [it]
based on nationwide contacts rather than just Texas contacts,”     allegedly canceled [the plaintiff's] numbers. Such actions, if
because Congress authorized nationwide service of process          done without a legal right, may amount to a violation of U.S.
for these claims. Access Telecom, Inc. v. MCI Telecomms.           law.”). Even if specific jurisdiction did not exist as to one or
Corp., 197 F.3d 694, 718 (5th Cir. 1999) (citing 15 U.S.C. §       more of these claims, the Court finds that these claims arise
22). For state law claims, however, the focus is on SafranHE       out of a common nucleus of operative facts and exercises
France's contacts with Texas, because “ ‘the suit’ must ‘aris[e]   pendent jurisdiction as to these claims.
out of or relat[e] to the defendant's contacts with the forum.’
” Bristol-Myers Squibb, 137 S. Ct. at 1780 (quoting Daimler        On the other hand, the Court finds that Plaintiff did not
AG, 571 U.S. at 127). Regardless,                                  plead sufficient facts for the Court to exercise specific or
                                                                   pendent personal jurisdiction over SafranHE France as to
   *13 Pendent personal jurisdiction “exists when a court          Count II, in which Plaintiff claims that SafranHE France
  possesses personal jurisdiction over a defendant for one         converted Plaintiff's property. The Fifth Circuit addressed this
  claim, lacks an independent basis for personal jurisdiction      precise issue in Pervasive Software Inc. v. Lexware GmbH
  over the defendant for another claim that arises out of          & Co. KG, 688 F.3d 214 (2012). In Pervasive, the Fifth
  the same nucleus of operative fact, and then, because it         Circuit considered whether specific jurisdiction existed over
  possesses personal jurisdiction over the first claim, asserts    a German corporation regarding a claim of conversion of
  personal jurisdiction over the second claim.”                    property. See id. at 229. The Fifth Circuit noted that specific
                                                                   jurisdiction would exist if the German corporation committed
Nat'l Oil Well Varco, L.P. v. Sadagopan, Civ. A. No.               the tort “in whole or in part” in Texas. Id. (quoting TEX.
H-16-2261, 2017 WL 2957908, at *6 (S.D. Tex. July                  CIV. PRAC. & REM. CODE ANN § 17.042). Finding that
11, 2017) (quoting Rolls-Royce, 576 F. Supp. 2d at 783).           the complaint alleged that the German corporation had offices
“The decision to exercise pendent personal jurisdiction is         only in Germany and did not allege that any act occurred in
discretionary with the court.” Gen. Elec. Capital Corp. v.         Texas, the Fifth Circuit concluded that the alleged conversion
Mackzilla, LLC, Civ. A. No. H-15-2425, 2016 WL 1059529,            occurred in Germany and so did not fall under Texas's long-
at *5 (S.D. Tex. Mar. 17, 2016) (citing Rolls-Royce, 576           arm statute, Id. (citations omitted).
F. Supp. 2d at 784). “Although the Fifth Circuit has not
yet addressed pendent personal jurisdiction, this district and


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 *14 The Court finds the present case analogous. Plaintiff          the sufficiency of the pleadings as to the alleged breach
alleged that SafranHE France, a French company, converted           of contract involving Plaintiff's parts, wrongful detention,
and refused to return Plaintiff's property. See Third Am.           conversion, or negligence as to the parts, violation of
Compl, ¶¶ 211, 218. There are no allegations showing                the DTPA, and misrepresentation or concealment, For the
that SafranHE France took any tortious action in Texas.             following reasons, the Court grants the Motion as to every
Accordingly, the Court lacks specific jurisdiction over             challenged claim except Count XV. 7
SafranHE France as to Count II. The Court further finds that
the conversion allegations do not arise out of the same nucleus     7      To the extent the Court already dismissed a claim in
of operative fact as the other claims and so declines to exercise
                                                                           whole or in part, the following analysis constitutes
pendent personal jurisdiction over SafranHE France as to this
                                                                           additional grounds for dismissing that claim.
Count. For these reasons, the Court grants the International
Defendants' Motion as to Count II.
                                                                                         (1) Antitrust Claims

           (4) Standing under the Cartwright Act
                                                                                         a. Sherman Act § 1
SafranHE USA challenges Plaintiff's Cartwright Act claims,
                                                                    Section 1 of the Sherman Act prohibits “[e]very contract,
arguing that Plaintiff has not alleged that it was injured in
                                                                    combination.... or conspiracy in [unreasonable] restraint of
California. See Br. 19-20. The Court construes this as a
                                                                    trade or commerce.” MM Steel, L.P. v. JSW Steel (USA) Inc.,
challenge to Plaintiff's standing to bring these claims. The
                                                                    806 F.3d 835, 848 (5th Cir. 2015) (alteration in original)
Cartwright Act “is California's version of the federal Sherman
                                                                    (quoting 15 U.S.C. § 1). “[A] key distinction in antitrust law”
Act and sets forth California's antitrust laws.” Cellular Plus,
                                                                    is that certain restraints on trade are deemed per se illegal
Inc. v. Super. Ct., 14 Cal. App. 4th 1224, 1232 n.2 (1993).
                                                                    while others are analyzed under the rule of reason. Id. Thus,
In order for a private plaintiff to have standing to sue under
                                                                    the Court will first determine whether the claims should be
the Cartwright Act, the plaintiff must prove antitrust injury,
                                                                    analyzed under the rule of reason or per se mode of analysis,
“which is to say injury of the type the antitrust laws were
                                                                    and will then address the sufficiency of Plaintiff's allegations
intended to prevent and that flows from that which makes
                                                                    for these claims.
defendants' acts unlawful.” Id. at 1234 (citations omitted).
Standing is broader under the Cartwright Act than under the
Sherman Act, because the Cartwright Act allows even indirect
purchasers to recover. Lorenzo v. Qualcomm Inc., 603 F. Supp.                            i. Mode of Analysis
2d 1291, 1302 (S.D. Cal. 2009). Here, Plaintiff alleges that its
                                                                    Most arrangements challenged under § 1 are analyzed under
injury implicates California because the various conspiracies
                                                                    the “rule of reason,” which “requires the factfinder to
involve Advanced, which appears to be a corporation located
                                                                    decide whether under all the circumstances of the case the
in California. See Third Am. Compl. ¶¶ 98, 338, 530, 597.
                                                                    restrictive practice imposes an unreasonable restraint on
The Complaint also suggests that Plaintiff was Advanced's
                                                                    competition.” Arizona v. Maricopa Cty. Med. Soc'y, 457 U.S.
customer. See, e.g., id. ¶¶ 283, 536. For the purposes of
                                                                    332, 343 (1982). Experience has shown, however, that certain
the pending motions, the Court finds that these allegations,
                                                                    arrangements are generally found to be unlawful under the
viewed in the light most favorable to Plaintiff, are sufficient
                                                                    rule of reason, and so are presumed to unreasonably restrain
to confer standing upon Plaintiff as a customer of a California
                                                                    competition. Id. at 344. These practices are referred to as
company. See Lorenzo, 603 F. Supp. 2d at 1302 (quoting
                                                                    per se violations and include certain types of “price fixing,
Cellular Plus, 14 Cal. App. 4th at 1233).
                                                                    division of markets, group boycotts and tying arrangements.”
                                                                    N. Tex. Specialty Physicians v. FTC, 528 F.3d 346, 360 (5th
                                                                    Cir. 2008) (quoting Maricopa Cty., 457 U.S. at 344 n.15);
                 C. Failure to State a Claim                        but see Leegin Creative leather Prods., Inc. v. PSKS, Inc.,
                                                                    551 U.S. 887, 899 (2007) (holding that vertical price fixing is
Defendants further contend that the Complaint does not
                                                                    analyzed under rule of reason); Meijer, Inc. v. Barr Pharm.,
include sufficient facts to state twenty-six of the thirty
                                                                    Inc., 572 F. Supp. 2d 38, 48-49 (D.D.C. 2008) (collecting
causes of action alleged therein. Defendants do not challenge


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cases where exclusive supply agreements were analyzed             price fixing agreements are per se unlawful. See N. Tex.
under rule of reason). Courts generally do not expand the         Specialty, 528 F.3d at 360. For the purpose of resolving the
per se category absent demonstrable economic effect and a         pending Motions, therefore, the Court will apply the per se
substantial history of declaring particular conduct unlawful.     mode of analysis to Count XIII.
See Abadir & Co. v. First Miss. Corp., 651 F.2d 422, 428
(5th Cir. Unit A July 1981) (first quoting Cont'l T. V., Inc.     With regard to the group boycott claim, “[t]he Supreme Court
v. GTE Sylvania Inc., 433 U.S. 36, 58-59 (1977); and then         has regularly applied per se liability to agreements described
quoting United States v. Topco Assocs., Inc., 405 U.S. 596,       as ‘either directly denying or persuading or coercing suppliers
607 (1972)).                                                      or customers to deny relationships the competitors need in the
                                                                  competitive struggle.’ ” MM Steel, 806 F.3d at 848 (quoting
 *15 Counts V, VII, IX, X, XI, XII, XX, and XXI 8 appear          Nw. Wholesale Stationers, Inc. v. Pac. Stationery & Printing
to be premised on contracts or conspiracies between entities      Co., 472 U.S. 284, 294 (1985)). Viewed in the light most
at different levels of the distribution chain. Such vertical      favorable to Plaintiff, the Complaint appears to suggest that
restraints are analyzed under the rule of reason. See, e.g.,      Defendants and other authorized repair centers conspired not
Sylvania, 433 U.S. at 58 (holding that vertical restraints are    to sell parts to Plaintiff, a competitor. See Third Am. Compl.
generally analyzed under rule of reason); Abadir & Co., 651       ¶¶ 554, 564. Accordingly, the Court will analyze Count XVII
F.2d at 428 (refusing to extend per se category to “include       under the per se mode of analysis for the purpose of resolving
all suppliers who also compete with their distributors”). Even    the pending Motions.
if these Counts alleged contracts or conspiracies between
competitors alone, these Counts do not allege price fixing,
division of markets, group boycotts, or tying arrangements,                             ii. Per Se Claims
and the Court will not unduly expand the per se category.
Thus, the Court will analyze Counts V, VII, IX, X, XI, XII,       Although price fixing and group boycotts generally are
XX, and XXI under the rule of reason.                             found to be per se unlawful, it is not enough for a
                                                                  plaintiff to summarily assert that a price fixing or group
8                                                                 boycott conspiracy is afoot. The Supreme Court analyzed the
       On its own review of the Complaint, the Court is
                                                                  sufficiency of conspiracy allegations in Bell Atlantic Corp.
       of the opinion that Count XXI includes allegations
                                                                  v. Twombly, and held that a complaint must state more than
       that could be construed as giving rise to a tying
                                                                  “an allegation of parallel conduct and a bare assertion of
       claim under the Sherman Act. Although Plaintiff
                                                                  conspiracy.” 550 U.S. at 556; see also Schafer v. State Farm
       never raises this legal theory, “[t]o survive a
                                                                  Fire & Cas. Co., 507 F. Supp. 2d 587, 596-97 (E.D. La.
       12(b)(6) motion to dismiss, a complaint need not
                                                                  2007) (finding that the plaintiff did not adequately plead the
       correctly categorize the legal theories giving rise
                                                                  existence of a conspiracy).
       to the claims.” Rathborne v. Rathborne, 683 F.2d
       914, 917 n.8 (5th Cir. 1982); see also Shippitsa Ltd.
                                                                  The Court finds that Plaintiff did not plead sufficient facts to
       v. Slack, Civ. A. No. 3:18-CV-1036-D, 2019 WL
                                                                  state a conspiracy either to fix prices or to boycott Plaintiff.
       3304890, at *12 (N.D. Tex. July 23, 2019) (“Even
                                                                  Count XIII, for example, alleges that Defendants conspired
       if [the] complaint fails to identify a specific legal
                                                                  to fix prices through a series of agreements with competitors.
       theory, the court cannot dismiss it on that ground”).
                                                                  See Third Am. Compl. ¶¶ 495-514. The Complaint does not
       Accordingly, the Court addresses a potential tying
                                                                  mention, however, any agreement to which SafranHE Canada
       claim and dismisses it for the reasons stated below.
                                                                  or SafranHE France was a party. Even when the Complaint
       See infra § III.C.1.c.
                                                                  discusses a specific agreement, the Complaint states no
This leaves Counts XIII and XVIII, which are labeled “price       more than that SafranHE USA entered into agreements
fixing” and “group boycott,” respectively. See Third Am.          with its competitors “not to undercut SafranHe [sic] USA's
Compl. 77, 90. Viewing the Complaint in the light most            service pricing.” See id. ¶¶ 497-502. This allegation simply
favorable to Plaintiff, the Court finds that Count XIII alleges   rephrases the claim—i.e., that SafranHE USA contracted
a conspiracy to set prices among competitors. See, e.g., id. ¶    with competitors to fix prices. Plaintiff did not allege
497 (“SafranHE USA and Heli-One [agreed] not [to] undercut        facts showing the purported conspiracy, such as allegations
SafranHe [sic] USA's MRO services pricing....”). Horizontal       showing a decrease in price competition, changes in pricing,



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or other facts establishing “more than a sheer possibility that                of demand, or alleges a proposed
[Defendants] ha[ve] acted unlawfully.” Iqbal, 556 U.S. at                      relevant market that clearly does
678. Similarly, Count XVII describes in significant detail how                 not encompass all interchangeable
Defendants and other companies keep track of the end user                      substitute products even when all
of their products, see Third Am, Compl. ¶¶ 555-60, and then                    factual inferences are granted in
summarily states that “SafranHE USA instructed Advanced ...                    plaintiff's favor ....
as well as the entire network of repair centers ... not to
do business with [Plaintiff].” Id. ¶ 561. These allegations,
without more, are conclusory and do not raise Plaintiff's claim   Apani Sw., Inc. v. Coca-Cola Enters., Inc., 300 F.3d 620, 628
                             9                                    (5th Cir. 2002).
above the speculative level. Accordingly, the Court grants
the Motions as to Counts XIII and XVII.
                                                                  The geographic market is based on the area of “effective
9                                                                 competition ... [which] must be charted by careful selection of
       Even if Plaintiff had adequately pleaded that
                                                                  the market area in which the seller operates and to which the
       SafranHE USA entered into a conspiracy to
                                                                  buyers can practicably turn for supplies.” Id. at 626 (citation
       fix prices or boycott Plaintiff, the Complaint is
                                                                  omitted). Specifically, the geographic market includes all
       devoid of any facts showing SafranHE France's
                                                                  areas “not just where consumers currently purchase the
       or SafranHE Canada's participation in the alleged
                                                                  product, but where consumers could turn for alternative
       conspiracies. This deficiency is fatal to Plaintiff's
                                                                  products or sources of the product if a competitor raises
       claims against SafranHE France and SafranHE
                                                                  prices.” Surgical Care Ctr. of Hammond, L.C. v. Hosp. Serv.
       Canada.
                                                                  Dist. No. 1 of Tangipahoa Par., 309 F.3d 836, 840 (5th Cir.
                                                                  2002). Here, the market definition is deficient in several ways.
                 iii. Rule of Reason Claims
                                                                  Plaintiff alleges two product markets: a market for
                                                                  Defendants' engines and parts, and a market for MRO
                   (a) Market Definition                          Services for Defendants' engines and parts. See Third Am.
                                                                  Compl. ¶¶ 252, 261. Even if the Court accepted that
 *16 For the Court to declare a contract or conspiracy
                                                                  the product markets are limited to Defendants' products,
unlawful under the rule of reason, a plaintiff must allege that
                                                                  Plaintiff provides no justification for defining the markets in
the contract or conspiracy restrains a particular market. See
                                                                  reference to all of Defendants' customers except helicopter
MM Steel, 806 F.3d at 843 (quoting Spectators' Commc'n
                                                                  manufacturers. See id. ¶¶ 253, 262. Plaintiff argues that
Network Inc. v. Colonial Country Club, 253 F.3d 215, 220
                                                                  helicopter manufacturers are properly excluded because they
(5th Cir. 2001)); Muenster Butane, Inc. v. Stewart Co., 651
                                                                  “are not long-term owners of the engines and thus are not
F.2d 292, 295 (5th Cir. Unit A July 1981). To allege a
                                                                  participants in the MRO [S]ervices or engine/parts markets.”
relevant market, a plaintiff must allege a product market and a
                                                                  Resp. to SafranHE USA's Mot. to Dismiss (hereinafter,
geographic market. See PSKS, Inc. v. Leegin Creative Leather
                                                                  “Resp.”) 13. The Court will not credit this implausible
Prods., Inc., 615 F.3d 412, 417 (5th Cir. 2010). A product
                                                                  assertion and unwarranted factual inference, See Ferrer,
market is defined by considering cross-elasticity of demand—
                                                                  484 F.3d at 780. Nothing in the Complaint suggests that
i.e., two products are in the same market if an increase in the
                                                                  helicopter manufacturers cannot sell leftover engines or parts,
price of one product increases demand for another product.
                                                                  or request or perform MRO Services on old parts in lieu of
See E.I. du Pont, 351 U.S. at 404. Although the definition
                                                                  purchasing new parts. Even if helicopter manufacturers are
of the product market usually presents a question of fact, the
                                                                  properly excluded, Plaintiff's product market allegations do
Court may determine it as a matter of law:
                                                                  not include “manufacturers of new PMA Parts (substitute
                                                                  parts otherwise manufactured by companies not affiliated
                                                                  with [Defendants], under an FAA program known as Part
            [w]here the plaintiff fails to define
                                                                  Manufacturing Authorization).” Third Am. Compl. ¶ 689. A
            its proposed [product] market with
                                                                  substitute part is by definition interchangeable for the part
            reference to the rule of reasonable
                                                                  it substitutes, meaning that the demand for substitute and
            interchangeability and cross-elasticity
                                                                  original parts is typically cross-elastic. By the same token, the



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market definition presumably needed to include companies                   822 F.3d 207, 211 (5th Cir. 2016) (“[A] district
that service PMA pails. Finally, the Court finds that Plaintiff's          court need not grant a futile motion to amend.”).
allegations that the parts and services of other manufacturers      For the foregoing reasons, the Court finds that Plaintiff did
are not interchangeable for Defendants' parts and services, id.     not properly allege a relevant market and grants the Motions
¶¶ 254-55, 263, are conclusory. See Twombly, 550 U.S. at 555.       as to Counts V, VII, IX, X, XI, XII, XX, and XXI.

 *17 Even if Plaintiff's product markets were properly
defined, Plaintiff incomprehensibly limits the geographic
                                                                                      (b) Injury to Competition
market to the United States. 10 See Third Am. Compl. ¶ 245.
Plaintiff's own allegations suggest that the geographic market      Even if Plaintiff adequately alleged a market for these Counts,
is broader than this: the Complaint states that Defendants'         the Court finds that Plaintiff's assertions regarding market
customers and competitors are located in the United States          injury are speculative. To state a claim under Sherman Act
and Canada. Id. ¶¶ 245-49. Additionally, there are numerous         § 1, a plaintiff must allege facts showing an anticompetitive
allegations that would suggest the relevant geographic market       effect stemming from the unlawful conduct alleged. See
might be worldwide. For example, Plaintiff alleges that: (1)        Marucci Sports, L.L.C. v. NCAA, 751 F.3d 368, 375 (5th Cir.
SafranHE France transacts business in the United States,            2014) (“[Plaintiff's] Second Amended Complaint must allege
id. ¶¶ 42, 45; (2) Defendants' principal customer Airbus            facts showing that the [conduct] unreasonably restrained
allegedly has its headquarters in Marginane, France, id. ¶          trade in the ... market.” (citations omitted)). “Speculation
71; (3) SafranHE France “is the largest solely dedicated            about anticompetitive effects is not enough.” Roy B. Taylor
manufacturer of Helicopter Engines in the world,” id. ¶¶            Sales, Inc. v. Hollymatic Corp, 28 F.3d 1379, 1385 (5th Cir.
76, 79; and (4) Defendants would ship parts for service             1994) (holding that plaintiff needed to show “that the tie ‘as
across the Atlantic, see id. ¶¶ 64, 138. These allegations          it actually operate[d] in the market’ harmed competition,”
show that companies in this industry operate globally—i.e.,         rather than the mere existence of a tie (quoting Jefferson Par.
a French company can profitably conduct business in the             Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 29 (1984))). Here,
United States while maintaining a physical location abroad.         Plaintiff pleaded no facts showing an injury to competition
The Complaint provides no reason for the Court to ignore            for any of its Sherman Act § 1 claims. Plaintiff alleges,
Defendants' international competitors. See Surgical Care, 309       for example, that certain practices “suppress intrabrand
F.3d at 840 (considering whether consumer would turn to             competition,” Third Am. Compl. ¶¶ 294, 466, 627, “harm[ ]
areas outside the United States for “alternative products or        competition, foreseeably, directly, and substantially,” id. ¶¶
sources of the product if a competitor raises prices”). In short,   298, 364, 432, 450, 488, 658, or raise prices. See id. ¶
Plaintiff's “geographic market definition does not comport          635, Plaintiff does not, however, provide any details about
with the commercial realities of the industry” as described by      competition in the relevant markets. Accordingly, the Court
Plaintiff. See Honeywell Int'l Inc. v. MEK Chem. Corp., Civ.        finds Plaintiff's allegations of anticompetitive effect to be
A. No. 3:17-cv-1390-M, 2018 WL 6737514, at *3 (N.D. Tex.            speculative and conclusory, and grants the Motions as to
July 5, 2018).                                                      Counts V, VII, IX, X, XI, XII, XX, and XXI.

10      Plaintiff contends that this is a typo and that
        the sentence should have read “United States and
                                                                                         c. Sherman Act § 2
        Canada.” See Resp. 12 & n.17. It is axiomatic that
        Plaintiff cannot amend the complaint by a brief in          To state a claim for monopolization, a plaintiff must plausibly
        opposition to a motion to dismiss. Energy Coal v.           allege “(1) the possession of monopoly power in the relevant
        Citgo Petroleum Corp., 836 F.3d 457, 462 n.4 (5th           market and (2) the willful acquisition or maintenance of
        Cir. 2016) (citing Roebuck v. Dothan Sec., Inc., 515        that power as distinguished from growth or development as
        F. App'x 275, 280 (5th Cir. 2013)). In any event,           a consequence of a superior product, business acumen, or
        this correction would not save Plaintiff's defective        historic accident.” Eastman Kodak Co. v. Image Tech. Servs.,
        market definition. Therefore, the Court will not            Inc., 504 U.S. 451, 481 (1992). To state a claim for attempted
        grant Plaintiff leave to amend. See Resp. 12 n.17           monopolization, a plaintiff must plausibly allege “(1) that
        (requesting leave to amend); Legate v. Livingston,          the defendant has engaged in predatory or anticompetitive
                                                                    conduct with (2) a specific intent to monopolize and (3)


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a dangerous probability of achieving monopoly power [in
the relevant market].” Retractable Techs., Inc. v. Becton
Dickinson & Co., 842 F.3d 883, 891 (5th Cir. 2016) (citation                     (1) Two separate products (as
omitted). For both claims, Plaintiff must properly define                        opposed to components of a single
a geographic and product market. See Spectrum Sports,                            product); (2) The two products
Inc. v. McQuillan, 506 U.S. 447, 456 (1993) (noting that                         are tied together or customers are
an attempted monopolization claim generally requires “a                          coerced; (3) The supplier possesses
definition of the relevant market and examination of market                      substantial economic power over the
power”); Eastman Kodak, 504 U.S. at 481 (noting that a                           tying product; (4) The tie has an
plaintiff must allege “monopoly power in the relevant market”                    anticompetitive effect on the tied
for a monopolization claim).                                                     market; and (5) The tie affects a not
                                                                                 insubstantial volume of commerce.
 *18 Plaintiff purports to have defined the market for its
monopolization and attempted monopolization claims in its
Sherman Act § 1 claims. See Third Am. Compl. ¶¶ 667, 698.           United Farmers Agents Ass'n, Inc. v. Farmers Ins. Exch.,
As explained above, Plaintiff's market definition is deficient.     89 F.3d 233, 235 n.2 (5th Cir. 1996) (citation omitted).
Without a validly defined market, the Court cannot determine        Specifically, a plaintiff must plead “two, distinct markets,”
whether Defendants have market or monopoly power in                 Paramount Pictures Corp. v. Johnson Broad. Inc., 432 F.
those markets, See Honeywell Int'l Inc., 2018 WL 6737514,           Supp. 2d 707, 709 (S.D. Tex. 2006) (citing Jefferson Par.,
at *3. Accordingly, the Court finds that Plaintiff did not          466 U.S. at 21), properly “define the parameters of each
sufficiently plead claims for monopolization and attempted          of these markets,” id. (emphasis added), and allege that the
monopolization, and grants the Motions as to Counts XXII            defendant has market power in the market for the tying
and XXIII.                                                          product. See Honeywell Int'l Inc., 2018 WL 6737514, at *6
                                                                    (citations omitted). A tying arrangement that does not meet
                                                                    these requirements is analyzed under the rule of reason, which
                        d. Tying Claim                              requires a plaintiff to show, among other things, an actual
                                                                    adverse effect on competition. Id. (citations omitted).
A tying arrangement is “an agreement by a party to sell
one product [ (also called a tying product) ] but only on           Here, Plaintiff does not affirmatively raise a tying claim but
the condition that the buyer also purchases a different (or         alleges in Count XXI that “SafranHE USA and SafranHE
tied) product, or at least agrees that he will not purchase that    Canada ... conditioned the sale of MRO Services on the
product from any other supplier.” Schlotzsky's, Ltd. v. Sterling    purchase of unnecessary ‘modifications.’ ” Third Am. Compl.
Purchasing & Nat'l Distrib. Co., 520 F.3d 393, 405 (5th Cir.        ¶ 645. As the Court should not dismiss a claim solely because
2008) (quoting Eastman Kodak, 504 U.S. at 461-62). The              Plaintiff did not identify a legal theory, Rathborne, 683
essential characteristic of an illegal tying arrangement “lies in   F.2d at 917 n.8, the Court must determine whether Plaintiff
the seller's exploitation of its control over the tying product     stated a plausible tying claim under either the per se or
to force the buyer into the purchase of a tied product that the     the rule of reason mode of analysis. First, the Court finds
buyer either did not want at all, or might have preferred to        that Plaintiff did not state a per se tying claim, because
purchase elsewhere on different terms.” Ill. Tool Works Inc. v.     the Complaint does not include a proper market definition,
Indep. Ink, Inc., 547 U.S. 28, 34-35 (2006) (citation omitted).     see supra § III.C.1.a.iii.a., let alone valid definitions of two
                                                                    distinct markets. See Paramount Pictures, 432 F. Supp. 2d
While tying arrangements are often included in the list of per      at 709. And, in the absence of a validly defined market, the
se violations of the Sherman Act, see N. Tex. Specialty, 528        Court cannot determine that SafranHE USA or SafranHE
F.3d at 360 (quoting Maricopa Cty., 457 U.S. at 344 n.15), not      Canada had market power in the sale of MRO Services.
all tying arrangements are per se unlawful. To state a claim for    See Honeywell Int'l Inc., 2018 WL 6737514, at *3, *6.
per se tying, a plaintiff must plausibly allege facts showing:      Second, Plaintiff cannot recover for tying under the rule of
                                                                    reason, because the Complaint does not plead facts showing
                                                                    actual injury to competition. Id. at *6. As explained above,
                                                                    Plaintiff's allegations of injury to competition are speculative


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and conclusory. See supra § III.C.2.a.iii.b. Accordingly, the      Cir. June 4, 1993); Kaiser, 677 F.2d at 1053 (citing Poster
Court grants the Motions as to Count XXI insofar as it states      Exch., Inc. v. Nat'l Screen Serv. Corp., 517 F.2d 117, 128
a tying claim.                                                     (5th Cir. 1975)). Thus, a plaintiff could allege a continuing
                                                                   antitrust violation by pleading that the defendant violated
                                                                   an antitrust duty to deal at a subsequent time during the
                                                                   limitations period, see Rx.com, 322 F. App'x at 396, but not
   e. Cartwright Act and Kansas Restraint of Trade Act
                                                                   by pleading that a contract was in existence at that time.
 *19 The same analysis conducted in conjunction with               See Kaiser, 677 F.2d at 1053. Importantly, even if a plaintiff
Plaintiff's Sherman Act claims governs Plaintiff's Cartwright      alleges a continuing antitrust violation, the plaintiff can only
Act and Kansas Restraint of Trade Act claims. See Cty. of          recover for harm that occurred within the limitations period.
Tuolumne v. Sonora Cmty. Hosp., 236 F.3d 1148, 1160 (9th           See Klehr v. A.O. Smith Corp., 521 U.S. 179, 189 (1997) (“But
Cir. 2001) (holding that the Cartwright Act was “modeled           the commission of a separate new overt act generally does
after the Sherman Act” and so the analysis “mirrors the            not permit the plaintiff to recover for the injury caused by old
analysis under federal law” (citations omitted)); KAN. STAT.       overt acts outside the limitations period.” (collecting cases)).
ANN. § 50-163(b) (“[T]he Kansas restraint of trade act shall
be construed in harmony with ruling judicial interpretations       The analysis is similar for the state law antitrust claims. A
of federal antitrust law by the United States [S]upreme            claim brought under either California's Cartwright Act or the
[C]ourt.”). Accordingly, the Court grants the Motions as to        Kansas Restraint of Trade Act is not barred if the plaintiff
Counts VI, XIV, XVIII, XXIV, and XXV for the reasons               alleges a continuous violation—a new, independent overt act
stated above.                                                      that inflicts a new injury on the plaintiff. See Garrison v.
                                                                   Oracle Corp., 159 F. Supp. 3d 1044, 1071-72 (N.D. Cal.
                                                                   2016); Manildra Milling Corp. v. Ogilvie Mills, Inc., 723
                                                                   F. Supp, 567, 570 (D. Kan. 1989). Like federal claims, a
                   f. Statute of Limitations
                                                                   Cartwright Act claim is subject to a four-year statute of
Even if the Court did not dismiss every antitrust claim for        limitations. See In re TFT-LCD (Flat Panel) Antitrust Litig.,
one or more of the deficiencies described above, the Court         No. M 07-1827 SI, 2014 WL 2527221, at *3 (N.D. Cal. June
finds that Plaintiff did not assert Count IX and portions of       4, 2014) (citing CAL. BUS. & PROF. CODE §§ 16750.1,
Counts XI, XXII, XXIII, XXIV, and XXV, within the relevant         17200). On the other hand, a Kansas Restraint of Trade Act is
limitations period.                                                subject to a three-year statute of limitations. See Four B Corp.
                                                                   v. Daicel Chem. Indus., Ltd., 253 F. Supp. 2d 1147, 1155-56
“[A] complaint that shows relief to be barred by ... the           (D. Kan. 2003) (citing KAN. STAT. ANN. 60-512(2)). The
statute of limitations[ ] may be dismissed for failure to state    two statutes also differ as to when the limitation period begins
a cause of action.” Kaiser Aluminum & Chem. Sales, Inc.            to run. While the limitations period under Kansas law begins
v. Avondale Shipyards, Inc., 677 F.2d 1045, 1050 (5th Cir.         to run when “the plaintiff knew or should have known of
1982) (collecting cases). Federal antitrust claims that are not    the harm,” In re Vitamins Antitrust Litig., No. MISC 99-197,
brought within four years of their accrual are “forever barred.”   2000 WL 1524912, at *2 (D.D.C. July 14, 2000) (discussing
15 U.S.C. § 15b. “Generally, a cause of action accrues and         McCue v. Franklin, 131 P.2d 704 (Kan. 1942)), a Cartwright
the statute begins to run when a defendant commits an act          Act claim accrues “when [it] is complete with all of its
that injures a plaintiff's business.” Rx.com v. MedcoHealth        elements.” Garrison, 159 F. Supp. 3d at 1065 (quoting Pooshs
Sols., Inc., 322 F. App'x 394, 396 (5th Cir. 2009) (quoting        v. Philip Morris USA, Inc., 51 Cal. 4th 788, 797 (2011)).
Zenith Radio Corp. v. Hazeltine Research, Inc., 401 U.S.
321, 338 (1971)). If a plaintiff alleges a continuing antitrust     *20 In this case, Plaintiff first alleged antitrust claims in
violation, suit may be brought within four years after the         its First Amended Complaint, filed March 28, 2016. See
defendant “commits an overt act in furtherance of an antitrust     ECF No. 10. Consequently, any federal claim premised on
conspiracy ... or commits an act that by its very nature is a      injury that occurred solely before March 28, 2012, is barred,
continuing antitrust violation.” Kaiser, 677 F.2d at 1051. The     see Kaiser, 677 F.2d at 1051, any Cartwright Act claim
key question is whether some injurious act actually occurred       that Plaintiff could have brought before March 28, 2012,
during the limitations period, See Hibernia Nat'l Bank v.          is barred, see Garrison, 159 F. Supp. 3d at 1071-72, and
Indus. Alloys Co., No. 93-3035, 1993 WL 209995, at *2 (5th         any Kansas Restraint of Trade Act premised on injury that



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Plaintiff should have discovered before March 28, 2013, is           723 F. Supp. at 570. As such, the Court cannot conclude
barred, see Manildra Milling, 723 F. Supp. at 570.                   that these Counts describe a continuing antitrust violation.
                                                                     Accepting all of Plaintiff's well-pleaded allegations as true,
Viewing the Complaint in the light most favorable to Plaintiff,      the Court find that any antitrust injury arising out Plaintiff's
the Court finds that Plaintiff timely brought the following          MAA, Heli-One's agreement, Defendants' policy with regards
claims; (1) Counts V, VI, and VII premised on the alleged            to substitute parts, and SafranHE USA's MAA with HSN
Defacing or Accident Policies that were enforced from 2013           under the Kansas Restraint of Trade Act, occurred outside of
to 2015 and harmed Plaintiff until 2014, see Third Am.               the relevant limitations periods.
Compl. ¶¶ 174, 190, 279, 281-82, 289-90, 353-55; (2) Count
X that is premised on SafranHE USA's MAA with HSN                     *21 For the reasons stated above, the Court grants the
signed in October 2012, see id. ¶ 442; (3) Counts XI and             Motions on limitations grounds as to Count IX, denies the
XII based on the Fleet Parts or Service Agreements, except           Motions on this basis as to Counts V, VI, VII, XIII, XIV, XVII,
the agreement with Heli-One signed in May 2009, see id. ¶            XVIII, XX, and XXI, and grants in part and denies in part the
462; (4) Counts XIII, XIV, XVII, and XVIII, purporting to            Motions on this basis as to Counts XI, XXII, XXIII, XXIV,
state price-fixing and group-boycott claims based on conduct         and XXV to the extent described in the preceding paragraph.
occurring in 2014 or 2015, see id. ¶¶ 498-502; (5) Counts XX
and XXI that are based on exclusive supply agreements and
other alleged MRO Services restraints adopted between 2013
                                                                                     (2) Deceptive Practices Claims
and 2016, see id. ¶¶ 616, 623, 646-48; (6) Count XXII insofar
as it alleges monopolization based on Defendants' agreements
with Advanced or the Fleet Parts or Service Agreements, see                                   a. Lanham Act
id. ¶¶ 679, 681; and (7) Counts XXIII, XXIV, and XXV, to the
extent they state claims not otherwise found untimely. These
allegations suffice to show that the claims arose, Plaintiff                      A prima facie case of false advertising
was injured, or Defendants committed a continuous violation                       under [Lanham Act § 43(a) ] requires
during the limitations period.                                                    the plaintiff to establish: (1) A
                                                                                  false or misleading statement of fact
Conversely, the Court finds that the following claims are                         about a product; (2) Such statement
time-barred: (1) Count IX based on Plaintiff's MAA that                           either deceived, or had the capacity
was entered into on April 30, 2010, see id. ¶¶ 390, 421-39;                       to deceive a substantial segment
(2) Count XI insofar as it purports to state a claim for                          of potential consumers; (3) The
Heli-One's agreement entered into in February 2010, see                           deception is material, in that it is
id. ¶ 497; (3) Count XXII to the extent it is premised on                         likely to influence the consumer's
Defendants adopting policies of throwing away substitute                          purchasing decision; (4) The product
parts and informing customers of this policy on February                          is in interstate commerce; and (5) The
9, 2003, see id. ¶¶ 689-90; and (4) Counts XXIII, XXIV,                           plaintiff has been or is likely to be
and XXV, to the extent they are based on Plaintiff's MAA,                         injured as a result of the statement at
SafranHE USA's February 2010 agreement with Heli-One,                             issue.
or Defendants' policy regarding substitute parts. Additionally,
the Court finds that Counts XXIV and XXV are barred by the
three-year statute of limitations applicable to Kansas Restraint     Pizza Hut, Inc. v. Papa John's Int'l, Inc., 227 F.3d 489, 495
of Trade claims, see Four B. Corp., 253 F. Supp. 2d at               (5th Cir. 2000) (citations omitted). “The failure to prove the
1155-56, to the extent they are based on SafranHE USA's              existence of any element of the prima facie case is fatal to
MAA with HSN. See Third Am. Compl. ¶ 442. The Court                  the plaintiff's claim.” Id. (citation omitted). The first element
further finds that Plaintiff did not allege any facts for these      of a § 43(a) claim requires a plaintiff to “demonstrate that
Counts showing that Defendants entered into, acted pursuant          the commercial advertisement or promotion is either literally
to, or harmed Plaintiff as a result of these contracts or policies   false, or that [if the advertisement is not literally false,] it is
during the limitations period. See Kaiser, 677 F.2d at 1051;         likely to mislead and confuse consumers.” Id. (alteration in
Garrison, 159 F. Supp. 3d at 1071-72; Manildra Milling,



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original) (quoting Seven-Up Co. v. Coca-Cola Co., 86 F.3d       statements were false or misleading. Plaintiff's only non-
1379, 1390 (5th Cir. 1996)).                                    conclusory allegation showing that the statements were false
Here, Plaintiff alleges that the following statements of        or misleading is the FAA's November 10, 2016, letter to
SafranHE USA are false or misleading: (1) unauthorized          First Aviation Services, Inc., stating that “a design approval
service centers do not have access to Defendants' technical     holder ... may not deny access to [technical information]
documentations, see Third Am. Compl. ¶¶ 733-35, 742,            based on claims of proprietary data.” Third Am. Compl. ¶
744; (2) unauthorized repair centers are “issuing falsified     737. Nothing in the Complaint explains how a 2016 FAA
release documents” when they repair Defendants' engines,        letter renders SafranHE USA's statements from 2009 to 2013
id. ¶ 734; (3) Defendants may withhold instructions or          false or misleading. See S. Snow Mfg. Co. v. Snow Wizard
other documentation as proprietary, see id. ¶ 736; and (4)      Holdings, Inc., 829 F. Supp. 2d 437, 453 (E.D. La. 2011)
repair centers that Defendants neither authorized nor did       (finding that subsequent agency action did not render prior
not authorize to provide repair service do so in violation      statements false). Accordingly, the Court grants Safran HE
of FAA regulations, 11 see id. ¶ 742. Plaintiff posits that     USA's Motion as to Count XXVII.
these statements are “false and misleading because FAA
regulations require [Defendants] to make available Technical
Instructions ... to all owners and maintenance providers.”                  b. Common Law Unfair Competition
Id. ¶¶ 737, 745. The Lanham Act is not, however, an
appropriate vehicle to enforce Plaintiff's interpretation of    “Unfair competition under Texas law ‘is the umbrella for
FAA regulations. See Greater Hous. Transp. Co. v. Uber          all statutory and nonstatutory causes of action arising out
Techs., Inc., Civ. A. No, 4:14-0941, 2015 WL 1034254,           of business conduct which is contrary to honest practice in
at *10-11 (S.D. Tex. Mar. 10, 2015) (citing, among other        industrial or commercial matters.’ ” Taylor Publ'g Co. v.
things, IQ Prods. Co. v. Pennzoil Prods. Co., 305 F.3d 368,     Jostens, Inc., 216 F.3d 465, 486 (5th Cir. 2000) (quoting Am.
373-74 (5th Cir. 2002)) (holding that the plaintiffs “failed    Heritage Life Ins. v. Heritage Life Ins., 494 F.2d 3, 14 (5th Cir.
to plead a cognizable cause of action that [the defendant's]    1974)). Liability for unfair competition must be premised on
representations that they ‘meet all local regulations’ are      some “independent substantive tort or other illegal conduct.”
false or misleading” because local regulations were subject     Schoellkopf v. Pledger, 778 S.W.2d 897, 904-05 (Tex. App.
to multiple interpretations). Thus, the fact that Plaintiff's   —Dallas 1989, writ denied). Plaintiff's common law unfair
Lanham Act claim seeks to enforce Plaintiff's preferred         competition claim is premised on the same allegedly false or
interpretation of FAA regulations is alone sufficient to        misleading statements as its Lanham Act claim. See Third
warrant dismissal of Count XXVII.                               Am, Compl. ¶¶ 755-63; Resp. 24 (arguing that Plaintiff
                                                                adequately pleaded a common law unfair competition claim
11                                                              because Plaintiff alleged a Lanham Act claim). As the Court
       The pertinent statement reads: “Turbomeca USA,
                                                                grants SafranHE USA's Motion as to the Lanham Act claim,
       Inc. specializes in the design, production, sale
                                                                the Court finds that Plaintiff's unfair competition claim is
       and support of low to medium power gas turbine
                                                                not premised on any independent substantive tort or other
       engines for helicopters.... There are no other FAA
                                                                illegal conduct. See Schoellkopf, 778 S.W.2d at 904-05, Even
       authorized ... Repair Centers within the United
                                                                if the unfair competition claim was premised on some tort, the
       States qualified to provide all levels of repair and
                                                                Court finds that Plaintiff did not plead sufficient facts to show
       overhaul of the engine and fuel control unit other
                                                                that SafranHE USA made any false or misleading statement
       than Turbomeca USA, Inc., [sic] Also, all manuals
                                                                for the reasons stated above, See also Indus., Inc. v. Selander,
       and technical documentation required to perform
                                                                932 F. Supp. 2d 754, 763 (N.D. Tex. 2013) (explaining that
       any repairs and/or overhauls on the Turbomeca
                                                                a common law unfair competition claim is analyzed under
       engines are proprietary to Turbomeca USA, Inc.
                                                                the same standard as a claim under the Lanham Act (quoting
       and are not available to non-authorized Repair
                                                                Amazing Spaces, Inc. v. Metro Mini Storage, 608 F.3d 225,
       Centers. Any other company providing repair
                                                                236 n.7 (5th Cir. 2010))). Consequently, the Court grants
       service on this engine would be in violation of FAA
                                                                SafranHE USA's Motion as to Count XXVIII.
       regulations.” Third Am. Compl. ¶ 742.
 *22 The Court further finds that Plaintiff did not allege
sufficient facts to show that any of SafranHE USA's



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                                                                    *23 “The elements of a tortious interference with contract
                                                                   claim are: (1) the existence of a contract subject to
                   (3) Breach of Contract
                                                                   interference; (2) a willful and intentional act of interference;
SafranHE France moves to dismiss the portion of Count              (3) such act was a proximate cause of damage; and (4)
VIII that asserts that SafranHE France breached Plaintiff's        actual damage or loss occurred.” Fluorine On Call, Ltd. v.
MAA. “In Texas, ‘[t]he essential elements of a breach of           Fluorogas Ltd., 380 F.3d 849, 864 (5th Cir. 2004) (citation
contract action are: (1) the existence of a valid contract; (2)    omitted). To prevail on a claim for tortious interference with
performance or tendered performance by the plaintiff; (3)          an existing contract, a plaintiff must present evidence that the
breach of the contract by the defendant; and (4) damages           defendant induced a third party to breach the contract. El Paso
sustained by the plaintiff as a result of the breach.’ ” Smith     Healthcare Sys., Ltd. v. Murphy, 518 S.W.3d 412, 421-22
Int'l, Inc. v. Egle Grp., LLC, 490 F.3d 380, 387 (5th Cir. 2007)   (Tex. 2017). For the act of interference to be intentional or
(alteration in original) (quoting Valero Mktg. & Supply Co.        willful, “[t]he interfering party must know of the existence
v. Kalama Int'l, L.L.C., 51 S.W.3d 345, 351 (Tex. App.—            of a contract between the plaintiff and a third party.” Hill v.
Houston [1st Dist.] 2001, no pet.)).                               Heritage Res., Inc., 964 S.W.2d 89, 123 (Tex. App.—El Paso
                                                                   1997, pet. denied).
In this case, the Complaint makes clear that SafranHE France
was not a party to the contract between SafranHE USA               The Court finds that Count III should be dismissed because
and Plaintiff. See Third Am. Compl. ¶ 390 (“[Plaintiff]            Plaintiff did not allege sufficient facts to show that SafranHE
and SafranHE USA entered into the [MAA] ....”). Plaintiff          France had knowledge of any contract subject to interference.
does not dispute that SafranHE France was not a party to           Plaintiff merely stated, in conclusory fashion, that “SafranHE
this agreement, but argues that due to SafranHE France's           France had knowledge of th[e] contracts,” Third Am. Compl.
control over the technical instructions, an implied contract       ¶ 225, which is insufficient to state a claim for tortious
existed between the two. See Resp. to Int'l Defs.' Mot. to         interference. See Hoffman v. L&M Arts, 774 F. Supp. 2d
Dismiss 19-20. Even if the Court permitted this eleventh hour      826, 846 (N.D. Tex. 2011). The only other allegation even
amendment of the Complaint, which it does not, see Energy          remotely on point—that “a SafranHE France employee[ ]
Coal, 836 F.3d at 462 n.4, the Court would still grant the         specifically mentioned [Plaintiff] in a presentation addressing
International Defendants' Motion as to this claim. A claim for     both the Defacing Policy and the Accident Policy,” Third Am.
breach of an implied contract requires a plaintiff to “plead       Compl. ¶ 225—does nothing to suggest that SafranHE France
the existence of a valid implied contract,” which, in turn,        was aware of any specific contract. Accordingly, the Court
requires allegations showing “(1) an offer, (2) an acceptance,     grants the International Defendants' Motion as to Count III.
(3) a meeting of the minds, (4) each party's consent to the
terms, and (5) execution and delivery of the contract with         The Court denies, however, SafranHE USA's Motion as to
the intent that it be mutual and binding.” Electrostim Med.        Count XV. SafranHE USA argues that Count XV should be
Servs., Inc. v. Health Care Serv. Corp., 614 F. App'x 731, 744     dismissed because Plaintiff did not plead that Defendants
(5th Cir. 2015) (quoting Plotkin v. Joekel, 304 S.W.3d 455,        engaged in an independently tortious act. See Br. at 24-25.
476 (Tex. App.—Houston [1st Dist.] 2009, pet. denied)). The        Plaintiff was not required, however, to plead an independently
Complaint includes no facts showing that SafranHE France           tortious act for this claim. See El Paso, 518 S.W.3d at 421
offered, accepted, or consented to any terms of Plaintiff's        (“[I]nterference with an existing contract does not” require
MAA with SafranHE USA. Accordingly, the Court grants the           “a finding that the defendant engaged in independently
International Defendants' Motion as to the portion of Count        tortious or unlawful conduct.”). Accordingly, the Court denies
VIII asserted against SafranHE France.                             SafranHE USA's Motion as to Count XV.




                       (4) Tort Claims                                b. Tortious Interference with Business Relationships

                                                                   The Complaint does not clearly state whether Plaintiff is
           a. Tortious Interference with Contract                  alleging tortious interference with an existing or prospective
                                                                   business relationship. See Third Am. Compl. ¶¶ 541-51.
                                                                   To the extent Plaintiff is alleging tortious interference with



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an existing business relationship, “its elements are: ‘(1)          Branch Distrib. Co., 54 S.W.3d 401, 414-15 (Tex. App.—
unlawful actions undertaken by [the defendants] without a           Waco 2001, pet. denied)).
legal right or justifiable excuse; (2) with the intent to harm
[the plaintiff]; and (3) resulting actual harm or damage.’ ”        In this case, Plaintiff alleges that Defendants' anticompetitive
D'Onofrio v. Vacation Publ'ns, Inc., 888 F.3d 197, 214-15           conduct satisfies the independently tortious act requirements
(5th Cir. 2018) (alteration in original) (quoting Am. Med. Int'l,   of Counts IV, XVI, and XIX. See Third Am. Compl. ¶¶ 234,
Inc. v. Giurintano, 821 S.W.2d 331, 335 (Tex. App.—Houston          236, 545; Resp. 25 (suggesting that the antitrust violations
[14th Dist.] 1991, no writ)). To the extent Plaintiff alleges       satisfy the independently wrongful action element). Alleged
tortious interference with a prospective business relationship,     antitrust violations satisfy the independently tortious act
its elements are:                                                   requirement, regardless of whether the violations rise to the
                                                                    level of valid antitrust claims. See In re Mem'l Hermann Hosp.
                                                                    Sys., 464 S.W.3d 686, 704-06 (Tex. 2015). Nevertheless,
             1) a reasonable probability that the                   for the reasons discussed above, the Court cannot conclude
             parties would have entered into                        that Plaintiff has pleaded a plausible antitrust violation. The
             a contractual relationship; 2) an                      various antitrust violations are deficient because Plaintiff did
             independently tortious or unlawful                     not plead sufficient facts to allege a conspiracy, to define a
             act by the defendant that prevented                    relevant market, or to show injury to competition, or because
             the relationship from occurring; 3)                    the claim itself is untimely. See supra § III.C.1. Consequently,
             the defendant acted with a conscious                   the Court finds that Plaintiff did not plead an independently
             desire to prevent the relationship                     tortious act and grants the Motions as to Counts IV, XVI, and
             from occurring, or it knew that                        XIX.
             the interference was certain or
             substantially certain to occur as a result             Furthermore, the Court notes that Count IV suffers from
             of his conduct; and 4) the plaintiff                   an incurable defect. Plaintiff alleges in this Count that the
             suffered actual harm or damage as a                    independently tortious act is SafranHE France's decision
             result of the defendant's interference.                to have SafranHE USA and SafranHE Canada adopt the
                                                                    Defacing Policy. See Third Am. Compl. ¶¶ 234, 236. Plaintiff
                                                                    clarifies that this decision is independently tortious because
Ewbank v. ChoicePoint Inc., 551 F. Supp. 2d 563, 566-67             it is an unlawful anticompetitive scheme. See Resp. to Int'l
(N.D. Tex. 2008) (citing RAJ Partners, Ltd. v. Darco Constr.        Defs.' Mot. to Dismiss 19. The Court finds that Plaintiff
Corp., 217 S.W.3d 638, 649 n.10 (Tex. App.—Amarillo 2006,           did not sufficiently plead that the Defacing Policy violates
                                                                    the antitrust laws. SafranHE France would not violate §
no pet.); Richardson-Eagle, Inc. v. William. M. Mercer, Inc.,
                                                                    1 of the Sherman Act by “conspiring” with SafranHE
213 S.W.3d 469, 475 (Tex. App.—Houston [1st Dist.] 2006,
                                                                    USA or SafranHE France to adopt certain policies, because
rev. denied)).
                                                                    Defendants are in a parent-subsidiary relationship. See
 *24 Either way, Plaintiff must establish that Defendants           Copperweld Corp. v. Indep. Tube Corp., 467 U.S. 752, 771-72
committed an independently tortious or unlawful act. See            (1984) (holding a parent and a wholly-owned subsidiary do
Ewbank, 551 F. Supp. 2d at 566-67; Adrain v. Genetec Inc.,          not “conspire” for the purposes of Sherman Act § 1); Century
No. 2:08-CV-423, 2009 WL 3161386, at *3 (E.D. Tex. Sept.            Oil Tool, Inc. v. Prod. Specialties, Inc., 737 F.2d 1316, 1317
30, 2009) (holding that unlawful act requirement of tortious        (5th Cir. 1984) (holding two corporations owned by a single
interference with an existing business relationship claim is        entity do not “conspire” for the purposes of Sherman Act § 1).
satisfied by showing that a defendant engaged in conduct that       Nor has Plaintiff adequately pleaded that SafranHE France's
is “independently tortious or unlawful”). To be independently       decision to adopt the Defacing Policy violates Sherman Act §
tortious or unlawful, the conduct must be more than “merely         2. In the absence of a validly defined market, the Court cannot
‘sharp’ or unfair”—it must be “actionable under a recognized        determine if SafranHE France possessed monopoly power in
tort [theory].” Centuria, Inc. v. Regiment Sec., LLC, Civ. A.       the relevant market—a necessary element of a § 2 claim. See
No. 3:11-CV-2500-N, 2013 WL 12250941, at *2 (N.D. Tex.              Eastman Kodak, 504 U.S. at 481. As the analysis of the state
Jan. 11, 2013) (alteration in original) (quoting Ash v. Hack        antitrust claims would be the same, see supra § III.C.1.d.,
                                                                    the Court finds that Plaintiff did not sufficiently plead that



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the decision to adopt the Defacing Policy is independently         established, the court should finally dismiss the suit.” Schiller
tortious and grants the International Defendants' Motion as to     v. Physicians Res. Grp., Inc., 342 F.3d 563, 567 (5th Cir.
Count IV for this additional reason.                               2003) (quoting Jacquez v. Procunier, 801 F.2d 789, 792 (5th
                                                                   Cir. 1986)). “[P]leadings review is not a game where the
                                                                   plaintiff is permitted to file serial amendments until he finally
                                                                   gets it right.” United States ex rel. Adrian v. Regents of the
                     c. Civil Conspiracy
                                                                   Univ. of Cal., 363 F.3d 398, 404 (5th Cir. 2004); see also
 *25 A civil conspiracy claim has the following elements:          United States ex rel. Willard v. Humana Health Plan of Tex.
“(1) two or more persons; (2) an object to be accomplished;        Inc., 336 F.3d 375, 387 (5th Cir. 2003) (holding that leave to
(3) a meeting of the minds on the object or course of action;      amend was properly denied where the plaintiff had two prior
(4) one or more unlawful, overt acts; and (5) damages as           opportunities to amend the complaint and the district court
a proximate result.” Wackman v. Rubsamen, 602 F.3d 391,            had once before granted leave to cure the complaint's lack
408 (5th Cir. 2010) (quoting Tri v. J.T.T., 162 S.W.3d 552,        of specificity). This is especially true where a plaintiff “did
556 (Tex. 2005)). Defendants allege that Plaintiff's allegations   not suggest in [his or her] responsive pleading any additional
regarding “a meeting of the minds” are conclusory. The             facts not initially pled that could, if necessary, cure the
Court agrees that Plaintiff's civil conspiracy claim should be     pleading defects raised by the defendants.” Goldstein v. MCI
dismissed.                                                         WorldCom, 340 F.3d 238, 255 (5th Cir. 2003). Additionally, a
                                                                   district court may deny the plaintiff an opportunity to replead
The only remaining claims at this point are: Count                 if an amendment of a claim is futile. See Legate, 822 F.3d at
I alleging that SafranHE USA and SafranHE Canada                   211 (citing Stripling v. Jordan Prod. Co., 234 F.3d 863, 872
breached contracts; Count II alleging that SafranHE USA            (5th Cir. 2000)).
and SafranHE Canada are liable for wrongful detention,
conversion, and negligence; Count VIII alleging that               Plaintiff did not move for leave to amend the Complaint,
SafranHE USA breached Plaintiff's MAA; Count XV stating            In fact, Plaintiff only requested to amend the definition of
that SafranHE USA tortiously interfered with Plaintiff's           the geographic market, and the Court found this proposed
contracts with Advanced; and Counts XXIX and XXX                   amendment to be futile. See supra note 10. Moreover, Plaintiff
alleging that SafranHE USA is liable for misrepresentations        had the benefit of an entire arbitration proceeding, see ECF
or concealment under the DTPA or common law. The civil             No, 44, four prior motions to dismiss, ECF Nos. 25, 31, 54,
conspiracy claim does not, however, relate to any of these         55, and oral argument before this Court, see ECF No. 91.
Counts. Rather, the conspiracy claim appears to be premised        In fact, the Court previously dismissed the Second Amended
on the dismissed antitrust allegations. See Third Am. Compl.       Complaint due to numerous pleading deficiencies, see ECF
¶ 727 (“The object to be accomplished by the conspiracy or         No, 92 at 61:20-24, and many of these deficiencies stayed the
conspiracies was to prevent competition....”). As the Court        same after Plaintiff's third amendment. See ECF Nos. 54, 55.
grants the Motions as to the predicate claims, the Court           Despite being afforded significant opportunities to state its
also grants the Motions as to the civil conspiracy claim. See      case, Plaintiff used these opportunities to expand the number
Walker v. Beaumont Indep. Sch. Dist., Civ. A. No. 1:15-            of its claims while failing to substantiate with facts existing
CV-379, 2016 WL 6666828, at *10 (E.D. Tex. Mar. 11,                claims. The Court will not condone Plaintiff's scattershot
2016) (dismissing conspiracy claim after dismissing predicate      pleading tactics. The Fifth Circuit has held that a court may,
claim). Accordingly, the Court grants the Motions as to Count      in its sound discretion, deny leave to amend on substantially
XXVI.                                                              similar facts. See Humana Health Plan, 336 F.3d at 387.
                                                                   Accordingly, in its discretion, the Court finds that Plaintiff
                                                                   “has had fair opportunity to make [its] case,” Schiller, 342
                                                                   F.3d at 567, and grants the Motions as to Counts II and VIII
                D. Dismissal with Prejudice
                                                                   against SafranHE France with prejudice and Counts III, IV,
The Court has discretion whether to dismiss a claim with           V, VI, VII, IX, X, XI, XII, XIII, XIV, XVI, XVII, XVIII,
or without prejudice, See Club Retro L.L.C. v. Hilton, 568         XIX, XX, XXI, XXII, XXIII, XXIV, XXV, XXVI, XVII, and
F.3d 181, 215 n.34 (5th Cir. 2009). “[A]t some point, a court      XXVIII against all Defendants in their entirety with prejudice.
must decide that a plaintiff has had fair opportunity to make      The Court additionally finds that amendment of Counts III,
his case; if, after that time, a cause of action has not been


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                                                                  XXIII, XXIV, XXV, XXVI, XVII, and XXVIII against all
IV, V, VI, VII, VIII, IX, X, XI, XII, XX, XXI, XXII, XXIII,
                                                                  Defendants in their entirety with prejudice. The Court denies
XXIV, XXV, XVI, XXVII, and XXVIII would be futile.
                                                                  SafranHE USA's Motion as to Count XV.

                                                                  SO ORDERED.
                   IV. CONCLUSION

 *26 For the reasons discussed above, the Court grants in         All Citations
part and denies in part the Motions. The Court grants the
Motions as to Counts II and VIII against SafranHE France          Not Reported in Fed. Supp., 2019 WL 3503240, 2019-2 Trade
with prejudice and Counts III, IV, V, VI, VII, IX, X, XI,         Cases P 80,865
XII, XIII, XIV, XVI, XVII, XVIII, XIX, XX, XXI, XXII,

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